       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 1 of 132




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


COALITION FOR GOOD GOVERNANCE,
RHONDA J. MARTIN, JEANNE DUFORT,
AILEEN NAKAMURA, B. JOY WASSON,
AND ELIZABETH THROOP,                                       Civil Action File No.

                    Plaintiffs,
v.

BRAD RAFFENSPERGER, in his official
capacity as the SECRETARY OF STATE of
the STATE OF GEORGIA, and REBECCA
N. SULLIVAN, DAVID J. WORLEY,
MATTHEW MASHBURN and AHN LE, in
their official capacities as members of the
Georgia State Election Board,

                   Defendants.



                                  COMPLAINT

      Plaintiffs Coalition for Good Governance (“Coalition”), Rhonda J. Martin,

Jeanne Dufort, Aileen Nakamura, B. Joy Wasson, and Elizabeth Throop bring this

civil rights action under 42 U.S.C. § 1983 for immediate and permanent

prospective injunctive and declaratory relief against the State of Georgia’s

Secretary of State, Brad Raffensperger, and State Election Board Members


                                       Page 1
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 2 of 132




Rebecca N. Sullivan, David J. Worley, Matthew Mashburn and Ahn Le, all in their

official capacities.

       INTRODUCTION AND SUMMARY

                                         1.

       This lawsuit seeks immediate changes to the State of Georgia’s in-person

and absentee mail ballot voting systems and procedures to protect the right to vote

during the COVID-19 pandemic, including a three-week postponement of the June

9, 2020 election to June 30, 2020. These changes must be put in place now, both

to protect the June and August elections and also to anticipate the November 2020

general election. Only by acting now can the Defendants assure the orderly

conduct of upcoming elections without disenfranchising citizens.

                                         2.

       The COVID-19 pandemic continues to ravage the State and the Nation. As

of April 20, a reported 733 Georgians have died of the disease, 181 in just the

previous five days. Another 3,550 have been hospitalized – many in serious

condition fighting for their lives. Over 18,947 Georgians have tested positive for

COVID-19, but because Georgia has only tested a small fraction of citizens, the

actual number of infected citizens is likely many times more.



                                       Page 2
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 3 of 132




                                          3.

      According to projections, pandemic conditions in Georgia will continue

throughout the period in which Georgia will be preparing for and conducting the

June 9 election. Based on its current projections, the Institute for Health Metrics

and Evaluations at the University of Washington warns that it will not be safe to

relax social distancing in Georgia until after June 15, 2020, and even then only if

Georgia has containment strategies in place, such as testing, contact tracing,

isolation, and contained limitations on the size of gatherings.

                                          4.

       The Nation recently watched in despair as all branches of government in

Wisconsin failed to take action under similar circumstances to address the impact

that the pandemic was having upon the election there. As a result, Wisconsin

voters’ constitutional rights were violated and the legitimacy of the election

undermined.    Unless injunctive relief is granted immediately, Georgia citizens

will find themselves in the same position as Wisconsin citizens: unable to vote in

person without exposing themselves to the virus; unable to vote absentee by mail

because the State has not planned for and is not equipped to accurately process and

count the anticipated deluge of absentee mail ballots.



                                       Page 3
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 4 of 132




                                           5.

        Georgia voters must not be forced to choose between their own personal

safety and exercising their fundamental right to vote, as were voters in Wisconsin.

“The right to vote freely for the candidate of one’s choice is of the essence of a

democratic society, and any restrictions on that right strike at the heart of

representative government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964). Inherent

in the right to vote freely is the right to vote without risking health and safety,

particularly where appropriately tailored election procedures can eliminate or

substantially mitigate such risks. Defendants, therefore, have the affirmative

obligation to take all steps necessary to ensure that every Georgia citizen qualified

to vote may vote in-person or by mail ballot without being forced to expose

himself or herself to unnecessary risks of contracting or spreading COVID-19.

                                           6.

      In response to the pandemic, federal, state, county, and local officials have

undertaken measures to slow the spread of the coronavirus, including school and

business closures, mandated social distancing, and orders to shelter-in-place.




                                         Page 4
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 5 of 132




The central purposes of these protective measures are to limit contact between

persons and to minimize exposure to surfaces that may be contaminated with the

coronavirus.

                                         7.

      Almost everything that is typically required to be done to prepare for and

conduct elections is at odds with social distancing and minizing contact with

contaminated objects and surfaces. In-person voting by its very nature features

large numbers of people in close contact with each other with a high degree of

interpersonal interaction. In-person voting as it is currently conducted in Georgia

requires voters and approximately 8,000 pollworkers to touch commonly used

physical objects and surfaces which, under the circumstances of a public election,

are almost certain to become contaminated by the virus that spreads this highly

contagious disease. There is no effective way to keep these objections and

surfaces clean. Pollworkers themselves are particularly vulnerable because they

are often over 70 years old, are forced into close contact with each other and

numerous voters, and must touch many surfaces and objects that will almost

certainly become contaminated with the virus.




                                       Page 5
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 6 of 132




                                           8.

      Unless in-person voting is carefully planned, regulated, and diligently

managed, and unless significant changes are made to how people vote in Georgia,

voting in Georgia will remain dangerous to voters and pollworkers for the

foreseeable future. If voting remains dangerous, voters will be forced to choose

between their personal safety and exercising their fundamental right to vote. Those

who do choose to vote will be severely burdened by the risk to their personal

health that must be paid as a sort of “poll tax” for exercising their right to do so.

                                           9.

      In addition, if election officials are unable to recruit a sufficient number of

pollworkers prepared to take the risk of such conditions, there is a great danger that

the State will disenfranchise voters by improperly and hastily closing poll

locations, limiting early voting, creating long lines, or limiting the hours during

which people may vote. Without new controls and system transparency, mail

ballot voting in volumes never before experienced in Georgia will result in lost or

delayed applications and ballots and in improperly rejected or accepted ballots.

Further, unless voting is widely perceived to be safe well in advance of the

election, there are myriad ways that the vote will be suppressed or manipulated by



                                        Page 6
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 7 of 132




those who will take advantage of the pandemic, or the confusion created by the

pandemic, for unfair political gain.

                                          10.

      The integrity and legitimacy of the upcoming elections will not be

maintained if the protection of constitutional rights is left to the State — other than

postponing the elections to June 9, none of the General Assembly, the Governor,

the Secretary of State, and the State Election Board has taken any meaningful

action to protect the health of the election officials, pollworkers, and voters who

will participate in upcoming elections. (The Secretary did mail absentee ballot

applications to all Georgia registered voters, but incorrectly mailed 625,000 of the

applications to the voters’ residential addresses, instead of their mailing addresses.)

                                          11.

      Plaintiffs bring this action to compel the Defendants to take immediate

action to ensure that Plaintiffs’ rights to vote and to receive equal protection are

not violated by the failure of the State to address the dangers presented by the

pandemic. Plaintiffs seek an order requiring a three-week postponement of the

June 9 election to June 30, coupled with a number of operational changes

necessary to ensure that public health is better during the conduct of the election.



                                        Page 7
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 8 of 132




With respect to in-person voting, Plaintiffs seek an order requiring the replacement

of touchscreen ballot marking devices with simple hand marked paper ballots and

disposable pens, as well as certain other measures to give local officials options to

provide more flexible and safer voting conditions. With respect to absentee mail

ballot voting, the Plaintiffs seek an order requiring the Defendants to take steps to

make it more practical for voters to receive and to cast absentee mail ballots and to

ensure that all eligible mail ballots are properly counted, and ballots proven to be

ineligible are rejected. Plaintiffs also seek to require safer working conditions for

in-person and absentee mail ballot election workers, thus enabling counties to

recruit such workers in sufficient numbers to staff upcoming elections adequately

while also reducing the risk of transmission of disease.

                                          12.

       Separately, Plaintiffs also seek relief relating to three improper actions that

the Secretary has already taken during the pandemic: first, to reverse his position

and count all valid absentee ballots received before by June 9, 2020; second, to

correct the information on voters’ My Voter Page to accurately reflect status of

absentee ballot applications and ballots; third, to require the Secretary to mail




                                        Page 8
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 9 of 132




approximately 625,000 absentee ballot applications to the correct mailing

addresses.

      JURISDICTION AND VENUE

                                          13.

      This Court has subject-matter jurisdiction over each of the claims raised in

this action pursuant to 28 U.S.C. § 1331 (federal question jurisdiction), § 1343

(jurisdiction over civil rights actions), § 1367 (supplemental jurisdiction), § 2201

(jurisdiction to grant declaratory relief) and § 2202 (jurisdiction to grant relief

ancillary to declaratory judgment).

                                          14.

      Venue lies in the Northern District of Georgia pursuant to

28 U.S.C. § 1391(b) because some of the offices of the Defendants are in Fulton

County and a substantial part of the events or omissions giving rise to the

Plaintiffs’ claims occurred and are threatened to occur in this judicial district.




                                        Page 9
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 10 of 132




      PARTIES

      A.     Plaintiffs

                                          15.

      Plaintiff Coalition for Good Governance (“Coalition”) is a non-profit

corporation organized and existing under the laws of the State of Colorado. (Other

information about Coalition, its Georgia membership, and the other Plaintiffs,

including their standing, is set forth in Part X, below).

                                          16.

      Plaintiff Rhonda Martin is a member and director of Coalition. Ms. Martin

is a registered voter in Fulton County, State of Georgia, who intends to vote in

upcoming elections.

                                          17.

       Plaintiff Jeanne Dufort is a member of Coalition and registered voter in

Morgan County, State of Georgia, who intends to vote in upcoming elections.

                                          18.

      Aileen Nakamura is a member of Coalition and a registered voter in Fulton

County, State of Georgia, who intends to vote in-person in upcoming elections.




                                       Page 10
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 11 of 132




                                          19.

      B. Joy Wasson is a member of Coalition and a registered voter in DeKalb

County, State of Georgia, who intends to vote in upcoming elections.

                                          20.

      Elizabeth Throop is a member of Coalition and a registered voter in DeKalb

County, State of Georgia, who intends to vote in upcoming elections.

      B.     DEFENDANTS

                                          21.

      Defendant Brad Raffensperger is sued for prospective declaratory and

injunctive relief in his official capacity as the Secretary of State of Georgia.

Secretary Raffensperger is also the Chairman of the State Election Board, which is

responsible for the promulgation of election rules and regulations. Secretary

Raffensperger has the authority to call the State Election Board into session for the

consideration and adoption of emergency or permanent election rules.

                                          22.

      Secretary Raffensperger is a state official subject to suit in his official

capacity because his office “imbues him with the responsibility to enforce the law




                                       Page 11
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 12 of 132




or laws at issue in the suit,” Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011),

specifically the election laws in the State of Georgia.

                                          23.

      State Election Board Members Rebecca N. Sullivan, David J. Worley,

Matthew Mashburn and Ahn Le (together with the Secretary, the “State Board

Members”) are also sued in their official capacities. Acting through the State

Board, the State Board Members collectively have the duty to promulgate rules and

regulations to obtain uniformity in election practices, as well as the legality and

purity of all primaries and elections, O.C.G.A. § 21-2-31(1), and to formulate,

adopt, and promulgate such rules and regulations, consistent with law, as will be

conducive to the fair, legal, and orderly conduct of primaries and elections.

O.C.G.A. § 21-2-31(2).

      FACTS COMMON TO ALL COUNTS

      A.     Government Responses to the Pandemic

                                          24.

      The first American died of COVID-19 on February 29, 2020, in Washington

State. Two weeks later, on March 13, 2020, President Trump issued national

emergency declarations. Governor Kemp declared a state emergency on March 14




                                       Page 12
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 13 of 132




and, on April 8, extended it to May 13. These declarations came weeks after

individual jurisdictions had closed schools or imposed local “shelter in place”

regulations.

                                               25.

      Though the particular measures and regulations relating to the pandemic

differ from jurisdiction to jurisdiction, in general these measures include the

following requirements:

          • Prohibition on public gatherings of more than 10 people;

          • Closure of all non-essential businesses and organizations;

          • Closure of all schools, colleges and universities;

          • Closure of restaurants for in-restaurant service;

          • “Shelter in place” regulations requiring people to stay at home;

          • Social distancing requirements or recommendations for individuals to

               stay at least six feet apart;

          • The need for individuals to wear protective masks in public.




                                          Page 13
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 14 of 132




      B.     The State Is Failing to Responsibly Address the Impact of the
             COVID-19 Pandemic Upon Elections

                                            26.

      The June 9 election currently includes the originally scheduled March 24

Presidential Primary, a small number of originally scheduled March 24 special

elections, the statewide primaries for state and county offices originally scheduled

for May 19, and other special elections such as state office vacancy elections called

recently such as State Senate District 4.

                                            27.

      On March 14, the Secretary postponed the March 24, 2020 presidential

primary from March 24 to May 19, citing his authority under O.C.G.A § 21-2-50.1

to do so. Early voting was announced to begin April 27, with voting system

programming and public voting system testing to take place in early April. It soon

became obvious that postponing the Election Day only to May 19 was inadequate

as County officials could not open offices or recruit pollworkers. Additionally, the

Secretary had missed hard deadlines for building the May 19 ballots so that

counties could proof and release them for timely printing. For weeks, the

Secretary resisted calls to postpone the election again, including from the Speaker

of the House of the Georgia General Assembly, taking the position that he had no



                                       Page 14
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 15 of 132




authority to do so. As the Speaker explained, the Secretary’s position that he had

no legal authority to postpone the election again was incorrect.

                                          28.

      On April 9, the Secretary announced a postponement of the May 19

elections for three weeks, to June 9. As explained in greater detail below, given

the ongoing pandemic, and the continuing difficulty of recruiting pollworkers, the

Secretary should have postponed the election until at least June 30.

                                          29.

      Though early voting for the June 9, 2020 election will begin on May 18 with

staff-intensive preparations beginning approximately May 4, the Secretary has

made little effort to address what essential changes to elections are necessary to

make it safe for voters, election officials, and pollworkers to participate in the

upcoming elections that are to be held during the pandemic.

                                          30.

      The Secretary has also not responded to urgent requests to address the

impact of the pandemic on Georgia’s elections. On March 23, Coalition wrote the

Secretary copying the State Board describing in detail necessary reforms that are




                                       Page 15
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 16 of 132




similar to those addressed in this Complaint. (See Exhibit A). The Secretary has

not acknowledged or responded to this letter.

                                         31.

      The Secretary also has completely failed to address the singular danger to

public health that is posed by the State’s new touchscreen ballot marking devices

(BMDs). The coronavirus will survive on the surfaces of touchscreen BMDs for

days, and using the BMDs for in-person voting will obviously enable the

transmission of the COVID-19 virus.

                                         32.

      On April 6, 2020, concerned voters and organizations, including the

Plaintiffs, submitted a formal request to the Secretary for a reevaluation of the

health risks posed by the BMDs during the pandemic. (A true and correct copy of

the Reexamination Request, submitted pursuant to O.C.G.A. § 21-2-379.24, and its

relevant supplemental information, are attached hereto as Exhibit B). The

Secretary has not responded to the Reexamination Request and there is no

indication that he will take any serious action to address the issues raised by the

Request.




                                       Page 16
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 17 of 132




                                         33.

      Beyond authorizing the use of mail ballot dropboxes, neither the Secretary

nor the State Election Board has made any attempt to issue guidance or emergency

rules to safeguard the polling places and election offices. The Centers for Disease

Control has issued a publication providing guidance for improving public health

and safety in elections entitled “Recommendations for Election Polling Place

Locations – Interim Guidance to Prevent Spread of Coronavirus Disease (COVID-

19) (attached as Exhibit C). Defendants are not taking this or other expert advice

to heart, and they have taken none of the essential steps required to keep elections

in Georgia safe during the pandemic.

                                         34.

      For example, the Secretary should have anticipated that pollworkers would

need masks. He did not. This left Cobb County in the position of having to post a

request on the internet for public donations of personal protective equipment for

pollworkers. (A true and correct copy of Cobb County’s internet posting is

attached hereto as Exhibit D).




                                       Page 17
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 18 of 132




                                         35.

      On April 6, in the Secretary’s only press conference to address the COVID-

19 crisis, the Secretary, without any evidence, praised the touchscreen BMDs as

safe and effective, stating that they represent a “good thing” that should not be

changed. Rather than outlining any plan for relief or guidance to county election

officials, the Secretary stated that he would appoint a voter fraud task force of law

enforcement officials to investigate “all instances of uncured signature

mismatches” on mail ballot envelopes and “unaccounted for votes from multiple

voters sharing the same address.” These measures have nothing to do with

mitigating the health risks posed by conducting an election during a pandemic.

Existing laws already govern how so-called signature mismatches are supposed to

be cured, and there is no evidence that deliberate forgeries cannot be investigated

by existing law enforcement personnel. And, of course, there is nothing fraudulent

in sharing a home with another voter. Dedicating additional resources to prevent

mail ballot voter fraud does nothing to address or mitigate the impact of the

COVID-19 pandemic upon Georgia voters. The Secretary’s inclination to focus on

matters completely distinct from the public health challenge at hand speaks




                                       Page 18
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 19 of 132




volumes about the need for the Court’s intervention to avoid chaotic and

unconstitutional elections during an unprecedented global pandemic.

                                         36.

      The State Election Board has also not addressed the impact of the COVID-

19 pandemic upon Georgia elections. On April 15, 2020, Secretary Raffensperger

led a long-scheduled meeting of the Board. During the public comment period,

citizens, including Plaintiff Jeanne Dufort, expressed grave concerns about voting

safety, pleading with the Board to address the dangers the COVID-19 pandemic

presents to public health in the polling places. The Board did not, however,

address the concerns raised. Instead, the only pandemic-related action that the

Board took was to authorize mail ballot drop boxes as an emergency rule. The

same was true for the Board’s seven-hour March 11, 2020 meeting: despite formal

requests from Coalition for it to do so, the Board did not address any ways to

mitigate the impact of COVID-19 upon elections in Georgia.

                                         37.

      The State Election Board has the duty to “formulate, adopt, and promulgate

such rules and regulations, consistent with law, as will be conducive to the fair,

legal, and orderly conduct of primaries and elections.” O.C.G.A. § 21-2-31(2).



                                       Page 19
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 20 of 132




Under the Secretary’s leadership, the State Election Board is not fulfilling this

duty.

                                          38.

        County election boards cannot be expected to step into the role that must be

filled by the Defendants. In fact, if a county election board were to take

independent action to modify election procedures to mitigate the impact of the

COVID-19 pandemic on a local scale, it is highly likely that the county would be

restrained or punished by the State Election Board for doing so. For example,

earlier this year the Athens-Clarke County Board of Elections made the decision to

replace touchscreen BMDs with hand marked paper ballots because the county had

concluded that it was “impossible or impracticable” to use BMDs without violating

voters’ state constitutional and statutory rights to absolute right ballot secrecy. In

March, the State Election Board initiated formal action against the Athens-Clarke

County Board of Elections for making this independent decision, by levying fines

and threatening further action. Unless counties are ordered to do so by the

Secretary or by the Board, local election superintendents will be unable to take

steps to address the impact of the COVID-19 pandemic upon elections.




                                       Page 20
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 21 of 132




                                         39.

      For its part, the General Assembly’s session is suspended and leadership

appears disinclined to reconvene to address the impact of the COVID-19 crisis on

the conduct of the upcoming elections.

      C.     The Course of the Pandemic and Upcoming Elections

                                         40.

      It is extremely difficult to project the course of the pandemic in Georgia and

nationwide because so little is known about the coronavirus or about how any

easing of current restrictions may prolong the pandemic’s spread or accelerate its

reemergence. And, even if Georgia’s population generally were to become

relatively free of COVID-19, “hot spots” can emerge or reemerge in a particular

community that may mandate extraordinary and essential protective measures.

                                         41.

      Even in ordinary times, for elections to proceed in an orderly manner, and

for citizens to be able to know sufficiently well in advance how, when, and where

they can vote, the rules and procedures for voting must be established weeks in

advance of any particular election. In addition, for purposes of establishing the

rules and procedures for voting, the time of an election is not Election Day itself,




                                       Page 21
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 22 of 132




but is, rather, the period of time beginning no later than the day when the State

must begin mailing ballots to citizens and military voters overseas, which is

currently 45 days prior to Election Day, and extending through Election Day itself.

                                         42.

      Because of the uncertainty of the course of the pandemic, the length of the

election period in advance of an Election Day, and the need for election officials,

election workers, and voters to know well in advance of the election how, when,

and where to vote, rules and procedures to protect the right to vote during the

present pandemic must be implemented immediately.

                                         43.

      The actions required to protect the right to vote during the pandemic fall into

three major categories. First, as averred below in Part V, to ensure that the more

than month-long process of preparing for and conducting the election does not fall

within the period in which Georgia is still fighting the pandemic, the June 9

election should be moved at least to June 30. Second, as averred below in Part VI,

substantial changes must be made to in-person voting to make it more safe,

including most obviously the replacement of the touchscreen BMDs with hand

marked paper ballots. Third, as averred below in Part VII, a number of changes



                                      Page 22
         Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 23 of 132




must be made to absentee mail voting so that the State can accurately and securely

process the foreseeably massive increase in mail voting that will be caused by the

pandemic. Fourth, as averred below in Part VIII, the Secretary must remedy

several specific recent failures that threaten to disenfranchise absentee voters in the

upcoming election. Together the changes averred to be necessary in Parts V, VI,

VII and VIII will be referred to as the Pandemic Voting Safety Measures.

                                           44.

         As averred below in Part IX, although all Georgia voters’ constitutional

rights will be infringed if Defendants do not undertake the Pandemic Voting Safety

Measures, the failure to do so will have a disparate and particularly severe impact

upon the elderly, the health-compromised, and those Georgians living in rural

areas.

         CONDITIONS ARE UNSAFE TO HOLD THE ELECTION ON
         JUNE 9, 2020


                                           45.

         This action seeks to postpone the June 9, 2020 election at least until June 30,

2020 in order to protect pollworkers and to allow voters to vote without fear for

their personal health and safety. Early in-person voting for a June 30, 2020



                                         Page 23
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 24 of 132




election would be required by statute to begin on June 8, 2020. (O.C.G.A. § 21-2-

385(d)(1)(B).

                                        46.

      Though Election Day itself is not presently set to occur until June 9, labor

intensive preparation for the election should already be underway. Ballots must be

proofed, printed, and readied for mailing 49 days in advance. (O.C.G.A. § 21-2-

384(a)(2). Workers must be recruited, hired and trained weeks in advance of in-

person Early Voting, which for the June 9 election starts on May 18, 2020. Voter

records must be updated. Servers, voting machines, and tabulators must be

programmed, tested, transported, secured, and set up in early voting polling places.

                                        47.

      State and local governments are already under enormous stress to fight the

COVID-19 pandemic with skeletal staffs and do not have the time or resources to

take all the actions necessary to conduct an orderly election. Worse, even without

the pandemic, this election features the largest new voting system implementation

in the Nation’s history.




                                      Page 24
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 25 of 132




                                           48.

      Unless the June 9 election is postponed, all of the foregoing required

preparations will need to occur while the COVID-19 pandemic continues to ravage

the State of Georgia.

                                           49.

      The Institute for Health Metrics and Evaluation at the University of

Washington (“IHME”) publishes projections on the course of the COVID-19

pandemic for each State and many countries and updates those projections every

several days.

                                           50.

      According to IHME’s best information, through April 17, 2020, 667

Georgians had died because of COVID-19. IHME projects that, for the balance of

April, up to another 2,028 Georgians could die of the disease.

                                           51.

      For May, IHME projects that the death toll in Georgia will continue to

mount, rising by up to 1,295 more lives.




                                      Page 25
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 26 of 132




                                          52.

      For purposes of weighing the burden on the right to vote of holding the

currently scheduled election during the pandemic, the most important figure is the

high-end figure in the range of the projections; that is, for example, 1,295 deaths

for the period of May 1 through June 1, 2020. IHME’s projections are widely

acknowledged to be among the best available, but IHME itself acknowledges that

large uncertainty intervals occur because of limited and conflicting data. Because

of these sources of uncertainty, IHME recommends that government officials “pay

attention to the full range of values in our forecast, especially the upper values.”

                                          53.

      Crucially, IHME’s projections assume that Georgia’s current social

distancing regulations will remain in effect until June 15, 2020, permitting Georgia

to enter a containment period. However, on April 20, the afternoon of this filing,

Governor Kemp announced that various businesses will be permitted to reopen this

week, despite the staggering number of daily COVID-19 related deaths. Within

the 24 hours prior to this filing, 44 more deaths were reported in Georgia due to

COVID-19. Indeed, IHME estimates that 34 Georgians will die of COVID-19 on

April 27, the day that the rules will start to be relaxed. Experts have warned that it



                                       Page 26
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 27 of 132




is too early to reverse government mandated social distancing. Only four days ago

on April 16, Governor Kemp warned that the peak of infections and deaths “keeps

moving away” into the future. Since the State is relaxing these life-saving

measures so early, it is even more important to postpone the upcoming election

because it is much more likely that the pandemic will remain in full force longer

than anticipated.

                                         54.

      In addition, the accuracy of IHME’s local projections depend upon the

accuracy of the number of locally reported deaths caused by COVID-19. IHME

uses the number of reported deaths and an estimated fatality rate to estimate the

number of active infections, which in turn drives the projections for the duration

and severity of the disease. The overall projections, therefore, are highly sensitive

to the reported number of deaths. But in Georgia there is substantial evidence that

the number of deaths is underreported and, if this is the case, the duration and

severity of COVID-19 will be far worse that IHME currently is projecting.

                                         55.

      The IHME projections are for the entire state; the conditions in any

particular county will almost certainly be better or worse, or much better or much



                                      Page 27
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 28 of 132




worse, than the average for the state as a whole. Thus, while the “average” county

may be projected to suffer only its share of the statewide projected number of

deaths, the conditions in many counties will be much worse. The per capita death

rate in Dougherty County, for example, is 15 times the state average. And the

variance is not just with small counties; the death rate in Chatham County is just a

quarter of the rate of the State overall, but it could easily exceed the statewide rate

in weeks to come as COVID-19 spreads into the area.

                                          56.

      It is not possible to project which counties will be experiencing more than

the statewide average of deaths during the election period and, more important, it is

not possible to postpone the election for just those counties. But it is possible to

project, to a near certainty, that for far too many counties, the COVID-19

pandemic will continue in full force through the June 9, 2020 election. This

foreseeable course of events places an unacceptable burden on the right to vote.

                                          57.

      Moving the date of the election from June 9 will also give the Secretary and

the counties time to correct the problems associated with the Secretary’s mailing of

absentee ballot applications. In an attempt to partially address the impact of



                                        Page 28
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 29 of 132




COVID-19 pandemic, the Secretary of State on or about April 6, 2020 mailed

absentee ballot applications to all active Georgia registered voters. Rather than

using voters’ mailing addresses, however, the Secretary used residential addresses.

This was an inexcusable mistake by either the Secretary or the mailing vendor –

the database includes a mailing address for each voter when it is different than the

residential address for this very purpose. As a result of this error, approximately

625,000 Georgians were not sent absentee ballot applications at their correct

addresses. Worse, the counties that have been hit the hardest by the COVID-19

pandemic are also rural counties in which the highest percentage of registered

voters use a mailing address, not a residential address. If the election is postponed

to June 30, these voters will have the additional time necessary to obtain and

submit absentee ballot applications, receive absentee ballots, and vote by mail.

                                         58.

      The Secretary surveyed county election boards in early April to determine

their staffing expectations before announcing the delay to June 9. The results were

alarming and supported a delay far beyond June 9. For example, Lee County

disclosed that it had lost almost 50% of its pollworkers. (Exhibit E)




                                      Page 29
          Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 30 of 132




                                           59.

         Separately, the Jackson County Election Board, recognizing both the

impossibility of operating polling places safely and the loss of pollworkers,

submitted a resolution to State Officials seeking to convert this election to an all

mail-ballot election to safeguard the upcoming elections. (See Exhibit F).

                                           60.

         Richard Barron, Fulton County’s Election Director, told WAOK radio on

April 14 that his office had 100,000 pieces of absentee ballot application mail to

process, including the wrongly addressed undeliverable applications sent to

residential addresses.

                                           61.

         In a video, Cobb County Elections Director Janine Evelar described the

crushing workload caused by having to process an enormous increase in absentee

ballot applications, the lack of supplies, and an inadequate number of pollworkers.1




1
    https://www.youtube.com/watch?v=apQiy4nxkGw&feature=youtu.be




                                         Page 30
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 31 of 132




                                         62.

      These chaotic conditions will not be resolved before the intense preparation

activities necessary to support the June 9 elections begin. More time is needed for

election officials to meet the challenges posed by the pandemic and exacerbated by

the Defendants’ inaction. Although election officials bear these burdens directly,

their collective inability to successfully conduct the upcoming elections will

indirectly result in severe burdens on Georgia voters.

                                         63.

      Moving the date of the upcoming election is not prohibited by federal law

(unlike the date of the Presidential election in November, which may only be

moved by Act of Congress). Many States have already postponed their primary

elections until well into the summer in order to protect voters. Some have pushed

their state and federal primaries into July, including New Jersey (July 7), Louisiana

(July 11), and Alabama (July 14). Kentucky, New York, and Virginia have

postponed their States’ primaries until June 23. North Carolina postponed its

Congressional District 11 runoff to June 23.




                                      Page 31
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 32 of 132




                                         64.

      Georgia law gives the Secretary the discretion to move this election again

(from its current date of June 9) because of the ongoing national emergency.

(O.C.G.A. § 21-2-50.1). In addition, moving the election to June 30, 2020 will not

require moving the currently scheduled August 11, 2020 runoff elections. Military

and overseas voters can also receive ballots for the August 11 runoff in a timely

fashion with the more compressed June 30 election schedule.

                                         65.

      Not moving the election from June 9 to at least June 30 threatens to

unreasonably burden Plaintiffs’ right to vote because it will force voting during

pandemic conditions and because election officials will be unprepared to conduct

in-person elections or process absentee mail applications and ballots in an orderly,

accurate, safe, and secure manner.

      CHANGES TO IN-PERSON VOTING

      A.     Touchscreen Ballot Marking Devices Must be Replaced by Hand
             Marked Paper Ballots

                                         66.

      Prior to the onset of the pandemic, the State of Georgia was in the process of

implementing the first statewide use of a new voting system featuring touchscreen



                                      Page 32
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 33 of 132




ballot marking devices (BMDs) supplied by Dominion Voting Systems. This is the

largest and most complex voting system conversion ever attempted in the Nation.

To date, the new system has only been used in about 225 Georgia polling places.

In the next election, the new system will be used for the first time in 2,075 other

polling places, a singularly challenging endeavor that unavoidably will require an

enormous amount of training, debugging, and complex installation work. This

daunting work is made more complex by the loss of thousands of experienced and

trained pollworkers due to the pandemic, and the need to safeguard those who are

assigned to those labor-intensive tasks of voting system preparations.

                                         67.

      BMDs are plagued with serious constitutional defects that are being

challenged in other litigation. See Curling v. Raffensperger, No. 17-cv-29898-AT

(N.D. Ga.). For example, like other electronic touchscreen voting systems,

election results generated by BMDs are not auditable because they leave no record

of a voter’s selection that itself is not generated by a computer which may be

defective because of malfunctions, misprogramming, or malicious interference. In

addition, the large size of the touchscreens, and the large font they use to display

voters’ choices, exposes voters’ choices to other voters, pollworkers, and the



                                       Page 33
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 34 of 132




public in violation of constitutional and statutory provisions guaranteeing voter

privacy.

                                              68.

       Even if touchscreen BMDs survive the constitutional challenges pending in

the other case, the coronavirus pandemic has rendered communal touchscreen

devices such as BMDs completely unsuitable as a mode of safely recording votes

because such devices pose an unacceptable and irremediable risk to the health of

voters and pollworkers. The same is true for the touchscreen electronic pollbooks,

such as the State’s PollPads, which the State uses to check-in voters.2

                                              69.

       According to the March 15, 2020 Rapid Expert Consultation on SARS-CoV-

2 Surface Stability and Incubation for the COVID-19 Pandemic published by The

National Academy of Sciences, the coronavirus survives “up to 24 hours on

cardboard and up to 2-3 days on plastic and on stainless steel.”




2
 The amount of touching that is required to use and vote on a BMD is seen in a short video
produced by the Secretary. https://bit.ly/2zbTpOd




                                           Page 34
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 35 of 132




                                          70.

      Virtually every component of the BMD touchscreen system and PollPad that

voters touch is plastic, steel, or cardboard, and voters and pollworkers will touch

each of these surfaces multiple times for each ballot cast. Multiple voters and

pollworkers will operate each machine in quick succession during the course of in-

person voting.

                                          71.

      Every step in the BMD voting process presents an opportunity to spread or

be infected by COVID-19 and there is no practical means of keeping the

touchscreen components clean. This health threat alone will discourage people

from voting (and potentially from working) in the polling places.

                                          72.

      BMD touchscreens themselves cannot be kept clean unless, at a minimum,

they are thoroughly cleaned after very voter. However, according to Dominion,

their touchscreens should first be powered down before cleaning is performed.

After the touchscreen is turned off, the pollworker will need to carefully clean the

screen with a special disinfectant. If the screen is not dry when it is used again, the

screen may fail to reliably translate the next voter’s touch into the intended election



                                       Page 35
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 36 of 132




choice. The screen, therefore, will need to be completely dry before it is powered

up and used again. Rebooting takes time. The additional staff and time required in

the polling place for such extra effort is infeasible and impractical in the context of

the present pandemic and further increases the time for human interaction.

                                          73.

      The BMD touchscreens were not manufactured to be cleaned after every use

and have never been tested to determine whether, or for how long, they will

withstand such scrubbing.

                                          74.

      Touchscreen system manufacturers warn that if pollworkers do not clean the

screens very carefully, the screens or other system components will be damaged

and the unit will have to be taken out of service. It can be anticipated that voters,

fearful of touching the screen, will bring their own sanitizing solutions for cleaning

the screen before use, much as many people now do when they take an airline seat

or a shopping cart. The blue privacy panels surrounding the touchscreens when

configured in the manner recommended by the Secretary will not permit the

pollworkers to observe voters attempting to clean the screens themselves.




                                       Page 36
           Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 37 of 132




                                          75.

       The process of powering down a BMD voting machine, cleaning the screen,

letting it dry, and powering it up again after each voter is so time consuming and

labor intensive that the effort, even if executed to perfection, will inevitably derail

the in-person voting process and disenfranchise voters. More likely, the effort will

be attempted but, with inadequate staff, not executed to perfection and voters will

be exposed to the virus and disenfranchised because of system malfunctions and

interminable delays. It also is highly unlikely that additional pollworkers could be

recruited for this dangerous work, particularly given that there already is a

pollworker shortage.

                                          76.

       In addition, the BMD system voting process, particularly with the incessant

cleaning and associated delays, will intensify close person-to-person contact

between and among voters and pollworkers – exactly the kind of close personal

contact that social distancing and other public health measures are designed to

curtail.




                                        Page 37
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 38 of 132




                                          77.

      The handling of 33,000 BMD touchscreen units and over 40,000 auxiliary

components also poses an unacceptable risk to election workers, vendors,

technicians, and other election officials in other respects. To prepare for an

election, election workers must program each touchscreen BMD using removeable

memory cards. After machines are programmed, each of the 33,000 machines must

be tested in public for proper programming in a Logic and Accuracy Test (LAT),

which is required by statute. The public testing will occur during a time when the

State’s stay-at-home restrictions will prevent the public and authorized poll

watchers from observing and verifying these tests. The LAT that each of the

State’s 33,000 touchscreen BMDs must undergo is an extremely time-consuming

process that requires close personal contact among election staff and the public and

continuous contact with potentially infected surfaces. In addition, each BMD

touchscreen along with its printer and battery back-up unit, and 33,000 plastic

“privacy” screens, must be manually unpacked, transported, and installed by teams

in each of the State’s 2,300 polling locations, frequently in tight spaces.




                                       Page 38
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 39 of 132




                                          78.

      The danger of the BMDs to Georgia’s 8,000-plus pollworkers and other

election staff is a separate humanitarian concern, but it will directly contribute to

causing voter disenfranchisement and will reduce election integrity and security.

Unless there is an environment and process that actually protects voters,

pollworkers, and other election staff, election superintendents will be unable to

recruit and train workers in sufficient numbers to staff the 2,300 polling locations

and process mail ballots in a manner to assure adequate voter polling place access

and a secure and fair election. Superintendents will be required to choose between

taking short-cuts and loosening security controls, or closing polling locations,

limiting early voting, limiting voting hours, or taking other actions that will

directly and indirectly burden voters in their exercise of the right to vote.

                                          79.

      To insist that voters use touchscreen BMDs for in-person voting is an

unreasonable burden on the right to vote because that requirement forces voters to

choose between their personal safety and exercising their right to vote and because

the State has a reasonable and available alternative: replacing BMDs with hand




                                       Page 39
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 40 of 132




marked paper ballots, which can be counted by the new already installed Dominion

scanners and tabulation system.

                                        80.

      Because of the risk that the State would be unable to implement the new

BMD system in time for 2020 elections, on August 15, 2019, the District Court in

Curling v. Raffensperger ordered the State to develop a backup plan using hand-

marked paper ballots instead of BMDs and to pilot that backup plan in selected

November 2019 elections. (No. 17-cv-2989-AT, Doc. 579 at 146). Cobb County

successfully piloted using hand marked paper ballots, with new Dominion optical

scanners and tabulators, in the November 2019 elections. This already-prepared

backup plan can feasibly be deployed statewide to address the dangers posed by

the coronavirus.

                                        81.

      Using hand marked paper ballots will be far safer and far easier than using

BMDs for multiple reasons. Paper ballots may be issued to voters in sanitary,

disposable envelopes and privately marked by the voter using a single-use

disposable marker on a single use disposable writing service such as stiff

cardboard. The voter can cast the paper ballot into a secure ballot box or scanner.



                                      Page 40
          Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 41 of 132




Using hand marked paper ballots will eliminate the pollworker labor hours needed

to educate voters on the complex, new BMD voting system, and to assist voters in

the polling place, which involves considerable close personal interaction. Using

hand marked paper ballots will greatly accelerate the process of polling place

voting and therefore will reduce lines and will help mitigate the dangers posed by

person-to-person contact.

                                         82.

      Using paper ballots instead of BMDs has the collateral benefit of allowing

polling locations to physically accommodate more voters voting simultaneously

with a safe distance between them, with less (or no) down time due to equipment

failures or cleaning delays. This will allow a faster flow through the polling place,

thus reducing the voters’ time spent in line and minimizing their exposure to other

voters.

                                         83.

      Using hand marked paper ballots also will allow secure drive-up or

“curbside” voting as polling locations, with accommodations for those who need to

come into a polling place.




                                       Page 41
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 42 of 132




                                         84.

      The enormous amount of time saved by not having to program, set-up, test,

transport, and install the 80,000 plus BMD components, and by not having to clean

the BMDs after every use, will dramatically reduce the number of pollworkers

needed to staff a polling location, thereby reducing the difficulty of engaging a

sufficient number of pollworkers. Saving on the cost of thousands of labor hours

will aid counties that are experiencing massive budget shortfalls because of the

pandemic.

                                         85.

      There is no good reason to use BMDs rather than vastly safer and less

expensive hand marked paper ballots. The State already uses hand marked paper

ballots for provisional and absentee mail ballot voting; eliminating BMDs will

simply require that the State order more printed paper ballots. Switching to hand

marked ballots greatly simplifies checking in voters before they vote because the

PollPad need not create a smartcard for activating the touchscreen BMD. No

change of procedures is required for scanning and tabulating the ballots cast.




                                      Page 42
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 43 of 132




                                          86.

      Using hand marked paper ballots is the most widely accepted voting method

in the nation and is universally recommended by election security experts. Hand

marked paper ballots are used across the nation in approximately 112,000 precincts

covering 133 million registered voters.

                                          87.

      The State of Georgia’s requirement that all in-person voters must use BMDs

during the pandemic is unconstitutional because it constitutes a severe,

unreasonable, and completely unjustified burden on the right to vote. Plaintiffs are

entitled to injunctive relief requiring the Secretary to cause upcoming elections in

Georgia, including the June 9, 2020 election (whether moved to June 30 or not), to

be conducted using hand marked paper ballots.

                                          88.

      BMDs should continue to be used for voters requiring assistive technology,

if no better alternatives are proposed by the Secretary. After every use of the BMD

touchscreens, the touchscreen should be powered down and thoroughly cleaned by

vendor-approved disinfectant cleaner.




                                      Page 43
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 44 of 132




      B.     Other Required Changes to In-Person Voting during the
             Pandemic

                                        89.

      In addition to using hand marked paper ballots instead of touchscreen

BMDs, other changes to in-person voting must also be made to keep voting

reasonably safe for voters and pollworkers during the course of the pandemic.

These other changes include the following.

             1.      Early Voting

                                        90.

      Each early voting location should operate (as they do today) as a “vote

center” in which any eligible voter in the county may vote.

                                        91.

       Early voting polling place managers should be appointed as absentee ballot

clerks as authorized by O.C.G.A. § 21-2-385 to issue absentee mail ballot packets

that the voter may take home to mark to avoid more time and human interaction in

the polling place.

                                        92.

      Superintendents should be authorized to operate early voting centers at their

option during the weekend and on the Monday prior to Election Day or any portion



                                     Page 44
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 45 of 132




of Election Day, provided that doing so does not interfere with accurately updating

pollbooks for Election Day voting.

                                         93.

      At the county superintendent’s option, early voting locations should be

authorized to open at any time after an adequate supply of printed ballots are

available for use, subject to the statutory minimum required by O.C.G.A. § 21-2-

385 (d)(1).

              2.   Curbside voting

                                         94.

      To reduce the number of voters inside polling locations, each county should

provide at least one curbside early voting location where voters may vote in-person

from their automobile by being issued a paper ballot, disposable pen, and

disposable stiff cardboard support sheet, or may drop off completed mail ballots.

For counties with over 100,000 registered voters, one additional curbside voting

location should be available for every 100,000 voters or fraction thereof. Curbside

voting is a proven alternative long used in some states for senior citizens or voters

with disabilities. Curbside voting polling locations would be provided in addition

to traditional Election Day polling locations. Curbside voting protects both voters




                                       Page 45
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 46 of 132




and pollworkers because voters remain in their cars and social distancing is

maintained with other voters. Automobile window glass also provides additional

protection.

              3.    Mobile Pop-up Polling Places

                                          95.

      Superintendents, at their option, should be authorized to use well-marked

official county-owned vehicles such as buses or vans to create temporary “pop up”

early voting locations where appointed absentee ballot clerks can issue and accept

paper absentee ballots, although voting should not occur inside the enclosed

vehicle. The Secretary should issue guidelines for the secure and safe operation of

such pop-up early voting sites.

              4.    Ballot Security and Chain-of-Custody

                                          96.

      Georgia law currently allows counties either to scan paper ballots at the

polling locations or to transport the ballots to the superintendent’s office for central

count scanning at their option. (O.C.G.A. § 21-2-485). The Secretary should issue

guidelines for use of central count scanning, including ballot security and chain-of-




                                       Page 46
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 47 of 132




custody protocols to provide counties with guidelines to use traditional secure

ballot boxes rather than scanners at polling places as may be appropriate.

             5.    Electronic Pollbooks

                                         97.

      Electronic pollbook component PollPads should be optional for use, and

each county should be authorized to determine whether their use is required for

paper ballot issuance. PollPads which require pollworker and voter touching

should not be used if the county can rely on less touch-intensive laptop epollbooks

used currently in early voting. It is imperative that electronic pollbook information

be accurate and updated, and properly backed up by updated paper copies in the

polling place, to avoid excessive time required for the pollworker and voters

interacting to resolve discreprancies. BMD touchscreen manual activation (in lieu

of plastic smart cards) by the poll manager should be used in the case of voters

who require BMD voting for assistive technology.

             6.    Voter ID and Check-in

                                         98.

      In lieu of the voter signing the voter certificate for in-person voting,

pollworkers should be authorized to administer and document oral oaths by the




                                       Page 47
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 48 of 132




voter containing the same content as the written oath. This reduces the handling of

hundreds of thousands of pieces of paper, pens, and related equipment.

                                          99.

      To reduce the touching of surfaces by multiple people, a voter should be

authorized to present a legible disposable paper copy of their photo identification

(such as driver’s license) as sufficient for personal identification either in-person or

mail-in voting.

             7.     Personal Protective Equipment and Workspace Shields

                                         100.

      Pollworkers and support staff must be supplied by the Secretary at the

Secretary’s expense with a sufficient supply of the kinds of personal protective

equipment (“PPE”) recommended by the Georgia Department of Public Health,

including CDC-approved masks and protective gloves.

                                         101.

      In-person voters who enter enclosed polling locations or lines forming on the

outside of the polling locations must be directed to wear masks (except for

curbside voting locations.) Single-use disposable masks should be supplied by the




                                       Page 48
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 49 of 132




county for voters who do not wear their own masks. The State should reimburse

the counties’ costs for the masks.

                                         102.

      Pollworkers should be directed to work behind clear plastic barriers to issue

ballots and assist voters. The barriers should be supplied by the election

superintendent and the cost reimbursed by the State. An example is at Exhibit G.

In consultation with the Georgia Department of Public Health, Secretary

Raffensperger should issue guidelines for minimum specifications for the plastic

shields and provide at least one source of supply.

                                         103.

      The Secretary should order the county superintendents to mark off distances

on the polling place floor and outside the polling place where lines form and

require that voters remain at least six feet from each other.

      CHANGES TO ABSENTEE MAIL VOTING

      A.     Conditions Causing Need for Changes

                                         104.

      Because of the health risks of in-person voting, the necessity and demand for

voting by absentee mail ballots will foreseeably continue to increase dramatically.




                                       Page 49
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 50 of 132




If this demand is not satisfied in a timely, efficient, and secure manner, the

COVID-19 pandemic will further disenfranchise Georgians and threaten the health

and safety of voters, pollworkers and election staff.

                                         105.

      In its recent elections, the State of Wisconsin experienced a five-fold

increase in the number of mail ballots requested and cast. Wisconsin was not

prepared to process that many absentee ballot applications or ballots. Thousands

of Wisconsin voters who timely submitted applications for absentee ballots did not

receive the ballots in time to mail them back prior to election day. By the time

officials realized that widespread disfranchisement was occurring, it was too late

for the elected officials or the Courts to provide an adequate remedy. Many of

those voters then had no alternative but to vote in crowded polling places.

                                         106.

       In the past, only 5% of Georgians have voted by mail, but with the

pandemic that percentage is expected to grow by more than ten-fold. On April 16,

the Atlanta Journal Constitution reported that there are a record 395,000

applications for mail ballots only 9 days after the Secretary sent applications to all




                                       Page 50
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 51 of 132




active voters. The State of Georgia, like Wisconsin, is not prepared to process the

coming massive increase in mail ballot voting.

                                        107.

      A large percentage of mail absentee voters will be new to the process and

unfamiliar with the State’s rules, which can be difficult to follow under even ideal

conditions. In addition, there is every indication that the U.S. Mail in Georgia will

continue to be much slower than normal, as it was in advance of the Wisconsin

elections. In addition, because of COVID-19, state and county election offices that

are ordinarily equipped to answer questions about absentee mail voting are already

understaffed and will be completely unable to handle the coming deluge of

questions and paperwork. Therefore, a more resilient mail ballot process is

necessary to protect voters’ rights.

                                        108.

      There already is evidence that the Secretary is not prepared for what will be

a massive increase in absentee mail ballot voting. (Three specific examples of

recent failures by the Secretary relating to absentee mail ballot voting are described

separately in Part VIII, below).




                                       Page 51
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 52 of 132




      B.      Modifications Required to Absentee Ballot Processing

                                          109.

      Given the unprecedented increase in demand for absentee mail voting, and

the State’s current inability to administer absentee mail voting efficiently and

securely, there is substantial risk that Georgia citizens will be disenfranchised

unless the following changes are made to Georgia’s absentee mail voting practices

and procedures:

           • Voters should be permitted to return completed mail ballots at any

              polling place, present their identification, and have the ballot accepted

              for counting, without the risk of signature rejection or postal delays.

           • All 2020 mail ballot applicants should be permitted to make a one-

              time application for mail ballots all elections for the remainder of the

              election cycle.

           • As soon as printed ballots are available, voters should be permitted to

              obtain mail ballots at the offices of the absentee ballot clerks to reduce

              wait times, polling place crowds, and officials’ administrative

              workload.




                                        Page 52
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 53 of 132




  • At the county superintendent’s option, absentee ballot clerks in any

     polling location should be authorized to securely issue mail ballot

     packets to the voter and determine and document his or her eligibility

     at the time of issuance by referencing the voters’ photo identification.

  • Absentee mail ballots post-marked no later than Election Day and

     received up to three days after Election Day should be accepted as

     timely cast. Additionally, ballots arriving by mail on the day after

     Election Day without a postmark should be accepted as timely cast.

  • Absentee ballots cast by voters covered by the Uniformed and

     Overseas Citizen Voting Act (“UOCAVA”) should be accepted as

     timely received if the ballot arrives prior to the final day for the

     superintendent’s certification of election results, which is the second

     Friday following the election. (O.C.G.A. §21-2-493(k)).

  • Voters should be permitted to present their affidavit to cure discrepant

     signatures or provisional ballots prior to the final day for the

     superintendent’s election results certification, which is the second

     Friday following the election. (O.C.G.A. § 21-12-493(k)).




                               Page 53
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 54 of 132




  • Election office scanning of mail ballots should be authorized to begin

     on 7 am Monday prior to Election Day, but no tabulations (partial or

     complete) should permitted until the county polls have closed on

     Election Day.

  • The majority of a county-level bi-partisan review panel should

     approve the rejection of any mail ballot signature prior to notifying

     the voter for signature curing.

  • The Secretary should require all counties to participate in the

     Secretary’s daily public reporting of early voting and mail ballot

     voting including signature rejection processing to assist voters and

     candidates in monitoring ballot acceptance progress.

  • Authorized poll watcher and public observation protocols should be

     established for oversight and voter protection for all mail ballot

     issuance, acceptance, and tabulation operations.




                              Page 54
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 55 of 132




      SECRETARY’S FAILURES TO PROPERLY PROCESS ABSENTEE
      BALLOTS
                            110.

      In addition to the necessity to change election practices and procedures

generally going forward, the Secretary must also remedy several specific actions

that threaten voter disenfranchisement in the upcoming election.

                                         111.

      On or about April 6, 2020, the Secretary reportedly mailed to all active

registered Georgia voters the mail ballot applications for the May 19, 2020 election

(formerly March 24 election; now being held on June 9). Rather than addressing

the ballot applications to the voters’ mailing addresses, however, the Secretary

mailed applications to voters’ residential addresses. This caused up to 625,000

registered voters to not receive their undeliverable applications. This error was

inexcusable: the information in the Secretary’s database for each registered voter

shows a residential address and, if different, a mailing address.

                                         112.

      Despite knowing of this failure for at least two weeks, the Secretary has not

informed the press or the voters of this failure. Hundreds of thousands of voters do

not know that they should have received a ballot application. Voters in rural areas



                                       Page 55
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 56 of 132




who frequently do not have home mail delivery are particularly victimized by the

Secretary’s mistake. There are only limited ways for rural voters to obtain primary

election information or ballot applications because small county election offices

are closed during the pandemic, and often have only limited information on their

websites that would not include a downloadable ballot application.

                                        113.

      This failure has had a particularly severe impact upon rural counties that

have been hit the hardest by the pandemic. For example, rural Randolph County

has COVID-19 related death and infection rates that are well over ten times the

state average. Over 23% of the voters in Randolph County do not receive election

mail at their residential address, but have mailing addresses. Only 76% of the

homes in Randolph County have internet access that would provide an alternative

to obtaining and submitting a ballot application. Randolph County is but one

example of rural counties that have been disadvantaged by the Secretary’s failure

to send ballot applications to the voters’ mailing addresses.




                                       Page 56
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 57 of 132




                                          114.

      For all voters to have an equal opportunity to complete a ballot application

request, the Secretary should promptly send ballot applications to those voters

whose mailing address is different than their residential address.

                                          115.

      Additionally, the Secretary printed the wrong county email return address on

some applications. In other instances, county officials were not informed of the

technical requirements for email submissions and their servers are rejecting the

large files containing photographs of the ballot applications. In yet other instances,

the voters’ application attachments are not opening in the existing systems. All of

these failures and errors ultimately cause significant delays that require extension

of time for officials and voters to correct.

                                          116.

      Another confounding example of the Secretary’s apparent willingness to

disenfranchise absentee voters without cause has arisen because of how the

Secretary is handling absentee ballots that voters received for what was the March

24, 2020 election (which included the Presidential Preference Primary) (“the

March Ballots”). On March 14, 2020, before those absentee ballots were due to be



                                        Page 57
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 58 of 132




returned, all March 24 elections were moved to May 19, 2020; the Election Day

was later changed to June 9, 2020. Before the election was moved from May to

June, the Secretary mailed absentee ballot applications to the residential addresses

of all active voters, including those who had already received a March Ballot.

Absentee ballots that are issued in response to these applications (“June Ballots”)

will be of two types. For voters whose records indicate that no March 24 ballot

was voted by March 24, the mail ballot to be issued will include races that were

originally scheduled for March 24 (including the Presidential Preference Primaries)

and races that were originally scheduled for May 19 (including the primary for

U.S. Senate and a State Supreme Court seat). For voters whose records show that

a ballot was returned for the March election, the mail ballot to be issued will

include only the races that were originally scheduled for May 19.

                                        117.

      Each change to the Election Day changed the due date for receiving absentee

ballots. On or about March 16, 2020, however, the Secretary informed the press

that completed March Ballots that were received after March 24 would be

cancelled. The Secretary has now changed those instructions by instructing

county officials to cancel completed March Ballots if not received by March 24



                                       Page 58
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 59 of 132




and if the voter requests a June Ballot. Therefore, March Ballots received after

March 24 will be cancelled whether or not the voters actually received or returned

a June Ballot. But many applications are improperly processed or not received and

many voters will not understand that by requesting but not casting a June Ballot his

or her March Ballot will be cancelled. This plainly unfair and unconstitutional

disenfranchisement could be avoided if the Secretary ordered the opposite: that is,

only cancel a March Ballot if a completed June Ballot with March races included is

received from the same voter. The Secretary must be ordered to instruct the county

superintendents to count all March ballots received by the June 9 Election Day (or

any new date of the election) if duplicate votes are not submitted.

                                        118.

      The Secretary not only is failing to keep voters informed, he is affirmatively

instructing county officials to misinform the public. For example, absentee ballots

for the June 9, 2020 election will not be printed and issued until the week of April

20. The Secretary, however, ordered superintendents to record dates of March 31

and April 6 as the date that these yet-to-be-mailed ballots were issued. These

incorrect dates now appear on voters’ My Voter Page records on the Secretary’s

website. This has confused voters, including some Coalition members, who



                                      Page 59
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 60 of 132




mistakenly believe that their ballots have been lost in the mail. Additionally, as of

last week, the Secretary had posted April 21, 2020 as the date that many voters’

ballots were issued, although that date had not arrived, and there is no assurance

that the ballot will be issued on that date. This has confused voters, including some

Coalition members, who assumed that the April 21 date was a typographical error

and an earlier date was intended, causing them to be concerned that their ballots

have been lost. The Secretary should be required to instruct the superintendents to

correct the date of issuance records so that voters can track the progress of their

ballot requests.

                                         119.

      The Secretary’s insensitivity to providing equal voting opportunities to

communities of color and protection of all voters was further displayed in his

failure to create a dual language ballot application in Gwinnett County, which is

the subject of unrelated litigation, Georgia Association of Latino Elected Officials

v Raffensperger, No. 20-cv-01587-WMR, (N.D. Ga.).




                                       Page 60
          Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 61 of 132




      DISPARATE IMPACT OF DEFENDANTS’ INTENDED CONDUCT
      UPON THE ELDERLY, HEALTH-COMPROMISED AND
      GEORGIANS LIVING IN RURAL AREAS


      A.       The Elderly

                                         120.

      It is well understood that COVID-19 is particularly dangerous for older

voters. In Georgia, people 65 years and older make up only 13% of the population

but as of April 16 account for 67% of Georgia’s deaths from COVID-19. This

dramatic difference in the vulnerability of older voters to COVD-19 has a

substantial impact on how and when to conduct elections for many different

reasons.

                                         121.

      It is fundamentally unfair to conduct an election in a public health

environment in which it will be dramatically more difficult for older voters to vote

safely.

                                         122.

      Older voters, including some Coalition members, are likely to have

disproportionately greater difficulty in finding alternatives to voting in-person than

younger voters will. Many will have never voted by mail and many others will not



                                       Page 61
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 62 of 132




familiar enough with, or even have access to, the internet for locating ballot

applications or tracking mailed ballots. County offices which might otherwise be

available to help or answer questions are already understaffed and stretched to the

limit and are asking that voters not call them about ballots.

                                           123.

       Older Georgians staff Georgia’s elections. The estimated age for

pollworkers is about 70. Unless elections are conducted at a time and in a manner

that is safe, it is unrealistic to expect that counties will be able to recruit sufficient

pollworkers and, even if they are recruited, it is inhumane to have them working in

an environment that is not as safe as possible.

       B.     Health-Compromised

                                           124.

       The COVID-19 pandemic also is particularly dangerous for those who have

existing medical conditions, such as chronic lung disease, cancer, immune

deficiencies, poorly controlled HIV or AIDs, obesity, diabetes, chronic kidney

disease and liver disease. The vast majority of people who die from COVID-19

have underlying conditions such as these.




                                         Page 62
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 63 of 132




                                        125.

      It is fundamentally unfair to conduct an election in a public health

environment in which it will be dramatically more difficult for voters with these

conditions to vote safely.

      C.     Georgians Living in Rural Areas

                                        126.

      The COVID-19 pandemic has hit rural counties in Georgia particularly hard.

In Dougherty County, for example, 91 people have died of the disease – more

deaths than in any other Georgia county and far more deaths relative to population

than any state in the country, including New York, the current epicenter of the

outbreak. Nearby Randolph County is also experiencing a catastrophic event,

suffering a fatality rate thirty times higher than the state average. Sumter and

Terrell Counties report infection and fatality rates far surpassing Atlanta’s or even

New York’s, and press reports indicate that actual deaths caused by the disease are

likely higher than reported.

                                        127.

      Rural counties, already hard-pressed to address the immediate public health

emergency, are particularly ill-equipped to prepare for, staff, and conduct an




                                       Page 63
         Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 64 of 132




election, particularly given the complex transition to an entirely new voting

system.

                                           128.

         In addition, many citizens in rural counties do not have access to the internet

or to other infrastructure or communication channels that would facilitate

alternatives to dangerous in-person voting.

                                           129.

         Dozens of traditional precinct polling places in Southwest Georgia are small

concrete structures measuring 300 to 400 square feet with no running water.

Attached as Exhibits H, I and J are photographs of polling places in Colquitt and

Sumter Counties. Social distancing is impossible in such close quarters, and

disinfecting polling places and hand washing is far more difficult with no running

water.

                                           130.

         It would therefore be particularly unfair and unconstitutional to require

citizens in these hard-hit communities to vote without first taking the Pandemic

Voting Safety Measures described above.




                                         Page 64
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 65 of 132




      STANDING

      A.     Coalition

                                        131.

      Coalition has organizational standing on its own behalf and associational

standing on behalf of its members.

                                        132.

      Coalition is a membership organization with a membership that consists of

individuals residing in Georgia and across the United States. Individuals become

members of Coalition by providing their contact information and indicating a

desire to associate with the organization. Members donate money, contribute time,

and share information and intelligence with the organization to the extent they are

able and wish to do so. Members receive informational communications from

Coalition and can benefit from Coalition’s facilitation of members’ individual

participation in civic activities that are germane to the organization’s purpose, such

as poll watching, auditing election results, and publishing opinion pieces.

Members utilize Coalition as a resource to answer a wide range of voter questions

about voting rights, voting processes, open meetings law, public records law,




                                       Page 65
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 66 of 132




recalls, petition processes, election legislation, and how to challenge election issues

they encounter.

                                         133.

      Coalition’s purpose is to preserve and advance the constitutional liberties

and individual rights of citizens, with an emphasis on preserving and protecting

those private rights of its members that are exercised through public elections.

                                         134.

      Coalition serves its purpose in multiple ways, including by providing

information and education to its members; by serving as a non-partisan educational

and informational resource for the public, press, campaigns, candidates, and

political parties; by monitoring nationwide developments in election law and

technology; by providing speakers for events at educational institutions; by

providing commentary from its leadership on election issues; by collaborating in

voting rights and election integrity initiatives with other nonpartisan nonprofits and

academics; by developing and sharing research and investigation of reported

election problems with the press, public and other members of the election-

integrity community; and by facilitating the engagement of members and




                                       Page 66
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 67 of 132




prospective members as non-partisan participants in the electoral process through

poll watching, attendance at public meetings, and other civic activities.

                                        135.

      Coalition, acting on its own behalf, has organizational standing because it

has been and will be directly harmed by having to divert its own scarce personnel

and resources to counteract Defendant’s unconstitutional failure to address the

impact of the COVID-19 pandemic upon elections in Georgia, including paying for

fees to lawyers for advice and representation, litigation expenses, potentially

consulting expert fees, travel expenses and related costs, and the diversion of

approximately 75% of the time of Coalition’s Executive Director Marilyn R.

Marks since February 2020 to address the issues raised in this Complaint, time that

the Executive Director would otherwise have devoted to Coalition’s work in North

Carolina and Colorado and other work in Georgia, including educating voters on

the moving of the election and the impact on the ballot content, educating the

public and officials about North Carolina’s unconstitutional voting equipment,

secret ballot violations, and advocating for North Carolina legislative changes

relating to those issues. These diversions of resources will continue if Defendants

engage in their intended conduct alleged in this Complaint.



                                       Page 67
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 68 of 132




                                         136.

      Coalition, acting on behalf of its members who are threatened with imminent

injury-in-fact, including the Member Plaintiffs previously identified and other,

non-plaintiff members who would have standing to sue in their own right, also has

associational standing to bring the claims for prospective relief stated herein.

Coalition has a number of Georgia-based members who are eligible Georgia voters

who prefer to vote on election day in the polling place, along with other members

who prefer to vote by paper mail ballot.

                                         137.

      Some Georgia-based Coalition members have experienced confusion and

frustration, fearing that their ballots have been lost because of the inaccurate

information posted by the Secretary related to ballot application issuance and mail

ballot transmission on the Secretary’s My Voter Page. Others are concerned

because of the lack of information posted on their My Voter Pages about whether

their ballot application or completed ballot transmitted days or weeks ago has been

received. Many county offices are closed and unavailable to answer questions on

ballot status. Some counties are so overwhelmed by the staff shortage and




                                       Page 68
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 69 of 132




paperwork overload that they have asked voters not to call the election office about

their ballot applications.

                                        138.

      Coalition is diverting resources in assisting voters and voting rights groups

in counties which had a high percentage of voters who were victimized by the

Secretary’s ballot application mailing error.

      B.     Individual Plaintiffs

                                        139.

      Plaintiff Rhonda Martin is a member and director of Coalition. Ms. Martin

is a registered voter in Fulton County, State of Georgia, who intends to vote in

upcoming elections. Ms. Martin has served as a poll watcher in numerous counties

authorized by a state political party, and expects to serve as a pollwatcher again in

2020 elections. Ms. Martin would prefer to vote in person in the polling place on or

close to Election Day using a hand marked paper ballot, or to hand deliver a mail

ballot to a Fulton County election office. However, because of the pandemic and

her concern about the transmission of disease, on April 6, she applied for a mail

absentee ballot for the May 19/June 9 election, and emailed that request to Fulton

County. Because of the pandemic she plans to return the voted ballot through the




                                       Page 69
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 70 of 132




United States Postal Service. As of the date of this filing, she has not received the

requested mail ballot and her My Voter Page does not show the receipt of the

emailed ballot application. Ms. Martin does not know whether her application was

lost or whether submitting another application would increase confusion or subject

her to risks of disfranchisement or legal jeopardy.

                                         140.

       Plaintiff Jeanne Dufort is a member of Coalition and registered voter in

Morgan County, State of Georgia, who intends to vote in upcoming elections. Ms.

Dufort generally prefers to vote on a hand marked paper ballot and hand deliver it

to her county election office because she does not wish to vote on a touchscreen

machine. However, at times, because of scheduling necessities, she has voted on

touchscreen machines in her home precinct. Ms. Dufort requested a mail ballot via

email on April 3 and her application was entered the next business day, April 6 on

her My Voter Page. The My Voter Page site soon reflected a ballot issuance date

of April 6. However, on approximately April 19 the MVP site was changed to

report a ballot issue date of April 21. As of the date of this filing, Ms. Dufort has

not received her mail ballot.




                                       Page 70
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 71 of 132




                                        141.

      When Ms. Dufort receives her mail ballot, depending on her evaluation of

the health risks, she will determine whether to continue her standard process to

hand deliver the ballot, or to mail it. However, the Morgan County Elections

Office is now closed to the public, so mail is currently the only option.

                                        142.

      Ms. Dufort has been appointed as an authorized poll watcher and expects to

be appointed as such again during 2020. Ms. Dufort is the First Vice Chair of the

Morgan County Democratic Committee and in that capacity helps recruit, assign,

and instruct poll watchers for the Committee for purposes of witnessing and

verifying steps in the conduct of the Morgan County elections, and ensuring

through the poll watching process that the interest of Democratic candidates and

Morgan County voters are protected in the ballot acceptance, processing, and

counting processes.

                                        143.

      Aileen Nakamura is a member of Coalition and a registered voter in Fulton

County, State of Georgia, who would prefer to vote in-person at her home precinct

in upcoming elections if a safe location and secure voting process were offered.



                                       Page 71
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 72 of 132




She has not applied for a mail ballot because she is waiting to assess the state of

the pandemic closer to Election Day and polling place conditions at the time of the

elections.

                                         144.

      Ms. Nakamura has served both as public election observer to help ensure the

fairness and accuracy of Georgia elections and as an authorized poll watcher for a

candidate in a non-partisan election. She plans to serve as an election observer or

poll watcher in remaining 2020 elections.

                                         145.

      B. Joy Wasson is a member of Coalition and a registered voter in DeKalb

County, State of Georgia, who intends to vote in upcoming elections. Because of

her concern about the safety issues in the polling places and the mail ballot

application and ballot processing times, on April 6, 2020, Ms. Wasson requested a

mail ballot via email for the June 9 election. She has received no response, and her

My Voter Page record does not show receipt of the application.

                                         146.

      Ms. Wasson has served as a poll watcher appointed by political parties to

protect the rights of voters and to verify elements of the elections she was assigned



                                       Page 72
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 73 of 132




to observe. She plans to serve as a poll watcher in remaining 2020 elections but is

apprehensive about the health risks that she will be exposed to if she does so.

                                         147.

      Elizabeth Throop is a member of Coalition and a registered voter in DeKalb

County, State of Georgia, who intends to vote in upcoming elections. Ms. Throop

voted in person during early voting in the March 24 Presidential Primary Election

prior to its postponement. Given the potential dangers of voting in the polling place

during the June 9 election and the potential delays in mail ballot processing, Ms.

Throop promptly applied for a mail ballot for the June 9 election, and My Voter

Page shows that her mail ballot was issued on April 21. But Ms. Throop has not

received her ballot and does not know when to expect it.

                                         148.

      Ms. Throop has served as a poll watcher appointed by political parties to

protect the rights of voters and to verify elements of the elections she was assigned

to observe as a watcher. She plans to serve as a poll watcher in remaining 2020

elections but is apprehensive about the health risks that she will be exposed to if

she does so.




                                       Page 73
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 74 of 132




                                        149.

      Each of the named individual Plaintiffs identified above, if required to vote

in person without the Pandemic Voting Safety Measures in place, will be

irreparably harmed because of the dangers posed by the COVID-19 pandemic,

including but not limited to the exposure to other voters and to contact with

physical surfaces that are likely to be contaminated with the virus. In addition,

each of the named individual Plaintiffs identified above, if required to vote

absentee by mail, will be irreparably harmed because, without the Pandemic

Voting Safety Measures in place, there is a substantial likelihood that absentee

mail ballot applications will not be processed in a fair, timely and accurate manner

and absentee mail ballots will not be processed in a fair, timely manner. In

addition, regardless of the method by which the individual Plaintiffs end up voting,

they will be irreparably harmed if, because the Pandemic Voting Safety Measures

are not in place, other Georgia voters are disenfranchised.

                                        150.

      Plaintiffs Throop and Wasson, along with other Coalition Members, are

residents of DeKalb County and have a great interest in the county sheriff’s race on

the March Ballot and the June Ballot. Similarly, Plaintiffs Martin, Nakamura,



                                      Page 74
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 75 of 132




Throop, and Wasson, along with other Coalition members, are residents of the City

of Atlanta which is conducting a referendum on sales tax that appears on the

March Ballot and the June Ballot. If some voters’ March Ballots are wrongfully

cancelled when they submit an application for, but do not return, a June Ballot,

these Plaintiffs will be irreparably harmed because the result of the vote for the

county sheriff and the City referendum will not be accurate.

               COUNT I: FUNDAMENTAL RIGHT TO VOTE

                                  42 U.S.C. § 1983

  Violation of State Law - Infringement of the Fundamental Right to Vote in
     Violation of the Fourteenth Amendment’s Guarantee of Due Process

                                         151.

      Plaintiffs incorporate and reallege Paragraphs 1 through 150.

                                         152.

      Inherent in an individual’s fundamental right to vote is the right to vote

without endangering their own or others’ safety. This is a fundamental right of

individuals protected by the United States Constitution and incorporated against

the State by the Due Process Clause of the Fourteenth Amendment.




                                       Page 75
         Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 76 of 132




                                         153.

      By holding elections during the COVID-19 pandemic without taking actions

to protect voters’ safety, including the Pandemic Voting Safety Measures described

above in Parts V, VI, VII and VIII, Defendants will knowingly burden severely

and infringe upon the fundamental right to vote of the Member Plaintiffs and

Coalition’s members and will injure Coalition by causing it to divert resources and

personnel form other ongoing projects.

                                       154.

      These severe burdens and infringements caused by Defendant’s actions and

inaction, and failure to take the Pandemic Voting Safety Measures, are not

outweighed or justified by, and are not necessary to promote, any substantial or

compelling state interest that cannot be accomplished by other, less burdensome

means.

                                         155.

      In violating Plaintiffs’ constitutional rights, Defendants are acting under

color of state law.




                                      Page 76
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 77 of 132




                                          156.

      The threatened injury to Plaintiffs’ rights is irreparable and imminent, and

Plaintiffs have no adequate remedy at law. Plaintiffs are accordingly entitled to an

injunction requiring Defendants to take the Pandemic Voting Safety Measures.



                       COUNT II: EQUAL PROTECTION

                                       42 U.S.C. § 1983

            Claim for Relief from Threatened Violations of the Fourteenth
                                 Amendment’s
                            Guarantee of Equal Protection

                          (Seeking Prospective Injunctive Relief
                      Against Defendants in their Official Capacities)

                                          157.

      Plaintiffs incorporate and reallege Paragraphs 1 through 150.

                                          158.

      Defendant Raffensperger has set Election Day for June 9, 2020, and intends

to require Georgia’s county election superintendents to conduct, and Georgia’s

voters (including individual Plaintiffs and other individual voters who are members

of Plaintiff Coalition) to participate in, certain required election activities in




                                        Page 77
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 78 of 132




accordance with the statutory election calendar that results from Defendant

Raffensperger’s selection of June 9, 2020, for Election Day.

                                          159.

      Defendant Raffensperger intends to require county election superintendents

and voters to conduct and participate in their required election activities without

himself instituting reasonable measures that will mitigate voters’ risks of exposure

to COVID-19, to the extent reasonably possible.

                                          160.

      Defendant Raffensperger’s intended adherence to his selected Election Day

of June 9, 2020, as well as his intention not to institute reasonable mitigation

measures, will foreseeably cause certain identifiable groups of Georgia voters to be

treated differently than other, similarly situated voters in the same election.

Specifically:

          • Elderly voters who vote in-person on Election Day using BMDs will

                be exposed to a much higher chance of dying from COVID-19

                contracted during the in-person voting process than will younger in-

                person voters.




                                        Page 78
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 79 of 132




  • Voters who have certain underlying health conditions that are known

     to be aggravating co-morbidities for COVID-19 who vote in-person

     on Election Day using BMDs will be exposed to a much higher

     chance of dying from COVID-19 contracted during the in-person

     voting process than will voters who do not have such health

     conditions.

  • Elderly voters and voters with health conditions who seek to avoid the

     severe health risks of in-person voting by opting to vote by mail, by

     contrast, will be exposed to a realistic likelihood that they will cast a

     less effective vote than in-person voters because of the substantial

     risks that either (i) mail ballot applications will not be timely

     processed and no ballot will be received, (ii) mailed ballots will be

     misdirected, misdelivered, or delayed beyond the permissible period

     for ballots to be received due to overload of the postal system during

     the current pandemic, or (iii) mailed ballots will be erroneously

     rejected by election officials without the voter being afforded an

     adequate opportunity to timely cure the rejection.




                               Page 79
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 80 of 132




          • Voters who prefer to vote in-person but who are forced to cast a ballot

             by mail in order to safeguard their health will be differentially

             burdened, relative to in-person voters, because Georgia’s procedures

             for voting by mail require voters to complete and submit a mail-ballot

             application in advance of Election Day and then to mail the completed

             ballot or deliver it in-person. Both of these steps are inherently

             burdensome even without taking into account that they will require

             some voters to leave home at least once during the pendency of

             physical distancing advisories in order to reach public mailing or

             voting facilities.

                                         161.

      Defendant Raffensperger’s intention to engage in conduct that will

foreseeably subject similarly situated voters to unequal health risks, solely in order

to adhere to an Election Day set for June 9, 2020, is arbitrary and capricious

because a later Election Day would permit an orderly election to be held while also

exposing discrete groups of vulnerable voters to less severe health risks.




                                       Page 80
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 81 of 132




                                         162.

      Defendant Raffensperger’s intention to engage in conduct that will

foreseeably subject similarly situated voters to unequal health risks is

fundamentally unfair because voters should not be required to jeopardize their

health in order to exercise their fundamental right to participate in self-

government.

                                         163.

      Defendant Raffensperger’s intention to engage in conduct that will

foreseeably subject similarly situated voters to unequal health risks differentially

imposes a profound burden upon the fundamental right to vote, federal

constitutional rights to freedom of speech and association, and Georgia

constitutional right to vote. These unequal burdens arising from Defendant

Raffensperger’s intended conduct will foreseeably lead to a suppression of the

votes cast by members of the affected groups of voters because individual voters

can reliably be presumed to favor the preservation of their own individual health

and safety over their desire to exercise the franchise in this single upcoming

election.




                                       Page 81
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 82 of 132




                                         164.

      One or more of (i) the individual Plaintiffs or (ii) other individual Georgia

voters who are members of Plaintiff Coalition is among the identifiable groups of

elderly and health-vulnerable voters that will be differentially subjected to health

risks as a result of Defendant Raffensperger’s intended conduct.

                                         165.

      Defendant Raffensperger’s threatened conduct is neither justified by a

legitimate governmental interest nor properly tailored to serve such an interest.

                                         166.

      Defendant Raffensperger’s threatened conduct will violate the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution.

                                         167.

      Defendant Raffensperger’s threatened conduct will violate the

unconstitutional-conditions doctrine by forcing certain affected voters to suffer

deprivation of their constitutional right to equal protection as a condition of being

able to exercise their fundamental constitutional right to vote.




                                       Page 82
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 83 of 132




                                         168.

      Defendant Raffensperger will commit the foregoing violations in the course

of acting under color of state law.

                                         169.

      If an injunction does not issue against Defendant Raffensperger’s intended

conduct, Plaintiffs (and Coalition’s Georgia-based members) will suffer the

violation of their constitutional right to equal protection and other irreparable

injuries for which there is no adequate legal remedy.



                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court:

      1. Issue an order directing Defendants to undertake all of the Pandemic

Voting Safety Measures immediately;

      2. Issue any declaratory relief necessary for the effectiveness of the

injunctive relief requested;

      3. Retain jurisdiction to ensure Defendants’ ongoing compliance with the

Orders entered by the Court in this case;




                                       Page 83
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 84 of 132




      4. Grant Plaintiffs their reasonable attorney’s fees, costs, and expenses

incurred in this action pursuant to 42 U.S.C. § 1988; and

      5. Grant Plaintiffs such other relief as the Court deems just and proper.

      This 20th day of April, 2020.

      /s/ Bruce P. Brown                         /s/ Robert A. McGuire, III
      Bruce P. Brown                             Robert A. McGuire, III
      Georgia Bar No. 064460                     Pro Hac Vice Pending
      BRUCE P. BROWN LAW LLC                     ROBERT MCGUIRE LAW FIRM
      1123 Zonolite Rd. NE                       113 Cherry St. #86685
      Suite 6                                    Seattle, Washington 98104-2205
      Atlanta, Georgia 30306                     (253) 267-8530
      (404) 881-0700


                                                 Attorneys for Plaintiffs




                                      Page 84
    Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 85 of 132




                  CERTIFICATE OF COMPLIANCE


      I hereby certify that the foregoing Complaint has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font

type of Times New Roman and a point size of 14.

                                   /s/ Bruce P. Brown
                                   Bruce P. Brown
                                   Georgia Bar No. 064460
                                   BRUCE P. BROWN LAW LLC
                                   Attorney for Plaintiffs
                                   1123 Zonolite Rd. NE
                                   Suite 6
                                   Atlanta, Georgia 30306
                                   (404) 881-0700




                                  Page 85
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 86 of 132




                                                                  E
                                                                  X
                                                                  H
                                                                   I
                                                                  B
                                                                   I
                                                                  T


                                                                  A
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 87 of 132




                    Coalition for Good Governance
March 23, 2020

The Honorable Brad Raffensperger
Georgia Secretary of State
214 State Capitol
Atlanta, Georgia 30334

Via email Brad@sos.ga.gov

Re: Recommendations for 2020 Elections

Dear Secretary Raffensperger:

The Coalition for Good Governance (CGG) proposes the following urgent actions that
you and the Georgia State Election Board (“SEB”) can take to ensure the security and
integrity of, and broad voter participation in, the 2020 elections in view of the
coronavirus threat. Though CGG is an adversary to your office and the SEB in litigation
challenging the constitutionality of Georgia’s Dominion Voting System, Curling v.
Raffensperger, No. 1:17-cv-02989-AT (N.D. Ga. filed Aug. 8, 2017), we submit the
following requests and recommendations to you not as litigation adversaries, but as
interested members of the voting public. We hope that you and the SEB will consider
these suggestions with open minds in order to serve our shared interest of protecting
millions of Georgians.

We are happy to discuss any of these requests and recommendations at your convenience.

A. Count All March 24 Mail Ballots

We understand that counties have been instructed not to count March 24 election mail
ballots received after March 24, although the official election date has been moved to
May 19. Voters may not desire to request another ballot to vote in the more complex
May 19 primary. For example, a DeKalb County voter may wish to vote only on the
March 24/May 19 sheriff’s race and now may still have an unvoted mail ballot. The voter
should not be required to apply for a new ballot when he or she has an unvoted ballot for
the sheriff’s race that is now moved to May 19. Please reconsider the decision not to
count such ballots that arrive after March 24 and, instead, count all ballots arriving on
or before May 19, the new official Election Day to avoid voter confusion,
disenfranchisement and excessive paperwork for administrators.




March 23, 2020              Recommendations for 2020 Elections                     Page 1
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 88 of 132




B. BMDs—An Unsafe System for the Foreseeable Future

The Dominion Ballot Marking Device system is unsafe from a public health perspective
while the coronavirus threat continues to ravage Georgia communities.

Georgia statutes require that a voting system be “safe and practicable” prior to
deployment. O.C.G.A. § 21-2-300(a)(2). The Secretary of State is required to make a
determination of whether the voting system can be used “safely and accurately.”
O.C.G.A. § 21-2-379.24(b). Upon re-examination, the Secretary’s determination can
change as to its ability to be used in safe operation by electors. O.C.G.A. § 21-2-
379.24(c).

The Dominion BMD system cannot be used safely during the COVID-19 pandemic. The
system requires intense and labor-intensive Logic & Accuracy Testing in the election
office, followed by the labor-intensive steps of transporting system components to
polling places. The systems then must be installed in the polling places, which also
involves concentrated team contact, considerable equipment handling, and extensive
staff presence in the polling places. The system’s components (including touchscreens,
PollPads, styluses, and smart cards) all require significant and repeated physical
touching and handling by both voters and workers, as well as considerable team
interaction (for operation, instruction, and assistance) between poll workers and voters.
All supplies and components of the system must be cleaned to the CDC’s exacting
specification after every individual voter’s use in the current environment. This health
and safety requirement cannot be met given the delays that such steps would impose on
voters in the polling places and the widespread labor and cleaning supply shortages.
Further, Dominion recommends that the touchscreens be powered down for cleaning,
which would cause a long delay for rebooting after every voter and massively increase
the risk of system failure.

A far simpler, more health-conscious solution would be to replace the BMDs with hand
marked paper ballots, which could be delivered in a single box to each polling place.
Disposable pens or golf pencils (for 2020 only) could be used to mark ballots. Minimal
handling of equipment would occur if officials were to use “central count” options for
hand marked paper ballots as referenced by O.C.G.A § 21-2-485, a process in which
voters could cast their paper ballots into a “dumb” precinct ballot box for centralized
scanning at the elections office. This alternative would involve fewer personnel and less
handling, as well as permitting voters to spend less time in the polling place.

Many thousands of labor hours would be saved by using hand marked paper ballots
instead of BMDs, which would relieve pressure to staff the large number of posts
currently anticipated to be necessary at a time when labor will be difficult to find.



March 23, 2020               Recommendations for 2020 Elections                     Page 2
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 89 of 132




For the foregoing reasons, we urge you to decertify the BMD components of
the Dominion Voting System for use in the immediately upcoming 2020
elections because the system is unsafe under the circumstances that will
likely prevail at the time these elections are conducted.

We believe that combined with flexible mail ballot and early voting options permitted by
state law, hand marked paper ballots can provide the basis for an orderly and safe
election in May, July, and November if diligent hygiene is maintained with lean crews.
We offer a number of suggestions below that would facilitate the use of hand marked
paper ballots to conduct these and any other elections that will be held during the
remainder of the current national public health emergency.

   1. If officials are concerned about the accuracy of hand marked ballot style issuance
      in early voting because of the number of potential ballot styles, they should
      conduct a simple manual check with a sign-off by the poll worker “checker.” This
      simple manual effort would save hundreds of hours and avoid the risks that will
      otherwise be imposed by the need to set up and use BMDs for automated ballot
      issuance.
   2. Voters should not be required either to sign or to use styluses to touch PollPads.
      (Nor should voters including voters with disabilities requiring assistive BMD
      technology be required to handle smart cards.) Either signatures should be
      waived this year, or else paper pollbooks should be used, since these can be
      signed with disposable golf pencils or disposable pens.
   3. Voters should be permitted (but not required) to bring their own printed-at-
      home, signed polling place applications to vote, thereby reducing human
      interactions and time spent in the polling place.
   4. Given the potential for disruptions of online services and the foreseeable
      difficulties of locating technical help promptly in such an event, the SEB should
      require election superintendents to use a paper pollbook backup of elector
      information that has been updated to reflect all early voting (i.e., the “certified
      electors list” in O.C.G.A. § 21-2-401(b)). The paper backup should be used to
      adjudicate discrepancies, and voters eligible to vote according to the paper
      backup list should not be forced to vote a provisional ballot.

C. Voting Method Expansion and Alternatives

   1. Permit acceptance of mail ballots at early voting locations and home precinct on
      election day. The State Election Board (“SEB”) is aware of CGG’s proposals (in
      partnership with the Georgia Libertarian Party and Georgia Constitution Party as
      well as others) submitted November 22, 2019, for voters to be permitted to drop
      off mail ballots to be accepted for later counting after showing identification in

March 23, 2020               Recommendations for 2020 Elections                      Page 3
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 90 of 132




       the polling places in order to avoid subjecting themselves to mailing and
       signature-rejection risks. These proposals should be adopted.
       Additionally, for ballots received without identification (such as when a person
       delivers a family member’s ballot), polling locations could be used as drop-off
       (not approval/verification) locations. We urge the SEB to quickly adopt a
       mandatory rule consistent with current law permitting the appointment of
       absentee ballot at expanded locations. See O.C.G.A. § 21-2-382.
       Accept completed mail ballots at curbside. Early voting centers, precinct polling
       places, central offices, and temporary pop-up drive-through locations should be
       established to accept and approve mail ballots. A drive-through drop-off
       could be set up in each polling place’s parking lot and could be staffed until late
       evening. Poll workers could use iPad-like tablets with absentee ballot lists to
       check off ballots as returned after reviewing the photo identifications of the
       voters. Absentee ballot clerks should be appointed at each of these stations under
       O.C.G.A. § 21-2-382.
   2. Curbside voting. Many states effectively use curbside voting, which permits
      eligible voters to receive paper ballots in their cars, vote on a clipboard, and
      return the ballot in a secrecy sleeve to the poll worker. Georgia should make use
      of similar methods. Disposable cardboard sheets could be used instead of
      clipboards. Sleeved ballots could be dropped into a locked ballot box without poll
      workers handling the ballots.
   3. Drive-through window voting at banks. Banks should be asked to participate by
      permitting their drive-through windows to be used as ballot acceptance stations
      on election day. Ballots can be issued to or collected from such facilities if proper
      controls are put into place.
   4. Early voting hours. In Georgia’s generous three-week period of early voting,
      differing hours (not necessarily more hours) should be offered, with at least some
      locations offering hours that extend until late evening on certain days, in order to
      help reduce the sizes and densities of polling place crowds during the day.
   5. Polling place locations. For purposes of the May and July elections, polling places
      should be temporarily moved to nearby (closed) schools so that large
      gymnasiums and cafeterias can be used for in-person voting. Larger spaces mean
      more room to spread out equipment, voting stations, poll workers, and voters—
      all of which help people comply with the CDC’s social distancing
      recommendations.
   6. Facilitating mail balloting.
       a. The SEB should require all counties to accept online email or faxed absentee
          ballot applications, with a required short issuance period.


March 23, 2020               Recommendations for 2020 Elections                       Page 4
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 91 of 132




       b. All voters should have the option to submit a one-time request for mail ballots
          that would cover all 2020 elections and related 2021 runoffs.
       c. Current mail ballot application forms should be updated and simplified to
          explain methods of submitting the applications and clarify which voters are
          eligible to apply for multiple elections in one request.
       d. Federal Write-In Absentee Ballots should be accepted as a fail-safe voting
          method if the voter has not obtained a mail ballot in time for mailing or
          casting (for 2020 only).
       e. Establish pop-up absentee ballot clerk locations (i.e., “additional sites” under
          O.C.G.A. § 21-2-382) in precinct polling places and government buildings in
          order to issue mail ballots in person. Ballots could be taken home to be
          completed and subsequently returned by mail or in-person delivery.
       f. Announce that there will be no enforcement of prohibition of voting mail
          absentee ballot on election day. (O.C.G.A. §21-2-385(a)) Many voters like to
          vote on election day and personally deliver their mail ballots. Some counties
          are recently warning voters not to vote their mail ballots on election day.
   7. Mail Ballot Processing.
       Certain changes to mail ballot processing will be warranted to effectuate the
       above proposals while also preserving secrecy of the ballot and minimizing any
       risks of voter disfranchisement.

       a. Clear instructions must be printed on mail ballot inside secrecy envelopes to
          explain the purpose of the envelope, its mandatory use, and requirement of
          ballot secrecy.
       b. Your office should emphasize that county election officials must comply
          strictly with mail ballot protocols for secrecy. CGG’s poll watchers have
          observed voter privacy being compromised by election officials in small
          communities during the opening and processing of mail ballots.
       c. Voters should be permitted to enclose a black and white copy of their photo
          identification to substitute for signature verification checks and thereby to
          avoid the rejection-and-cure process. (Enclosing identification must be
          accomplished in a manner that protects ballot secrecy and provides for
          redaction of personally identifying information afterward.)
       d. Mail ballot acceptances and rejections should be required to be posted by all
          counties daily, as most counties do routinely. Third parties require this
          information to help voters track ballots and cure discrepancies.




March 23, 2020               Recommendations for 2020 Elections                       Page 5
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 92 of 132




D. Mail Ballot Security

Certain additional security measures will be required in order to effectuate the above
proposals. We recommend the following steps.

   1. Create strict prohibitions against ballot harvesting. Mail ballot coercion, fraud,
      and vote buying are all exacerbated if community groups, labor unions, religious
      organizations, etc., are permitted to collect ballots. The SEB should enact clear
      rules prohibiting such harvesting, including punitive fines.
   2. Adopt strict and transparent chain of custody documentation. In order to have
      public confidence in the election, the poll workers, poll watchers, and the parties
      they represent must be able to verify the chain of custody of mail ballots and their
      supporting documents. Clear rules should be promulgated by the SEB to ensure
      that such documents are mandatory, that there is certainty of compliance, and
      that poll watchers are afforded the ability to independently verify chain of
      custody for mail ballots and accompanying documentation.

E. Transparency

Given the massive changes to voting methods that will be required in order to avoid
exacerbating the public health threat posed by SARS-Cov-2 and COVID-19 (whether or
not you and the SEB adopt any of the above recommendations), increased transparency
measures—especially in mail balloting—are going to be essential to preempt doubts
about the integrity of the upcoming elections. Accordingly, we offer the following
additional suggestions that are aimed at ensuring voter confidence in this difficult
period.

   1. Poll watcher access to mail ballot operations. County officials should be
      instructed that all operations and processes of mail ballot issuance, acceptance,
      rejection, scanning, and tabulation should be open to visual access and
      verification by authorized poll watchers. An appropriate number of poll watchers
      should be permitted, in order to allow for rotation of poll watchers over the
      expanse of days and hours in which election operations occur.
   2. Poll watcher review of ballot issuance or voter rejection. State law and ballot
      issuance practices should be amended to permit authorized poll watchers to
      verify the accuracy of ballot styles issued to the voter to reduce errors in ballot
      issuance or the rejection of the voter from voting in the polling location.
      Verification of accuracy can be conducted with reference to an electronic record
      in the possession of the poll watcher, such as via an iPad. Permitting poll
      watchers to conduct such a check should not impede the voting process in any
      way. Conducting such checks is a routine function of poll watchers in other
      jurisdictions. These checks help to minimize, if not avoid, instances of

March 23, 2020               Recommendations for 2020 Elections                      Page 6
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 93 of 132




       unintentional disfranchisement of voters, inappropriate provisional balloting,
       and inaccurate ballot style issuance.
   3. Political Parties/Bodies Working Group. We recommend that all political parties
      and registered political bodies be asked to join a working group to meet weekly
      (by virtual means) with you, preferably in a publicly broadcast meeting, to
      facilitate the exchange of information and ideas through the conclusion of the
      2020 elections and runoffs in January 2021. This mechanism would provide a
      transparent vehicle for you to use to ensure that you may conduct any necessary
      ongoing problem-solving with the input of civic entities capable of speaking for a
      broad and hopefully representative cross-section of all Georgia voters. The
      political parties, in particular, could play a helpful public role, if they were
      involved in such a working group, by facilitating the widespread communication
      to the public and candidates of accurate information about ongoing decision
      making.

The above suggestions are a partial list of changes that we urge all Georgia officials to
consider, given the grave public health risk facing Georgia at this moment and given the
ever-present need to facilitate safe and secure voting. The Dominion BMD Voting
System is particularly ill-suited to the current situation because it adds unnecessary
risks and financial costs to a fragile election environment. Given Dominion’s failures to
comply with the terms of the contract with respect to compliance with federal and state
election laws, including secret ballot laws, we urge you to consider requiring that
Dominion refund the cost of the BMD touchscreen components, which would likely
generate a refund to the State of $65 to $75 Million.

We are happy to discuss this with you at your earliest convenience.

Respectfully,



Marilyn Marks
Executive Director
Coalition for Good Governance
Marilyn@USCGG.org
704 292 9802

cc:
State Election Board Members
Vice-Chair Rebecca Sullivan Rebecca.sullivan@doas.ga.gov
Ahn Le ale@lelawllc.com
David Worley david@ewlllc.com
Matthew Mashburn mmashburn@georgia-elections.com


March 23, 2020               Recommendations for 2020 Elections                     Page 7
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 94 of 132




Staff:
Germany, Ryan rgermany@sos.ga.gov
GA Secretary of State Elections Division jshannon@sos.ga.gov




March 23, 2020             Recommendations for 2020 Elections            Page 8
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 95 of 132




                                                                  E
                                                                  X
                                                                  H
                                                                   I
                                                                  B
                                                                   I
                                                                  T



                                                                  B
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 96 of 132




April 6, 2020


The Honorable Brad Raffensperger
Georgia Secretary of State
214 State Capitol
Atlanta, GA 30334
(via email)

Re: Request for reexamination of certain voting system components


Dear Secretary Raffensperger:

The COVID-19 public health crisis demands that certain high-touch components of the
Dominion voting system be reevaluated for their implications for public safety, given the
number of plastic and metal surfaces that must be handled multiple times by voters, poll
workers, and support staff. The reexamination should be conducted with primary input
from infectious disease experts and public health experts. Therefore, pursuant to
O.C.G.A. § 21-2-379.24, the undersigned electors of the State of Georgia, and
organizations representing thousands of other electors, hereby request an immediate
reexamination of certain components of the Dominion Voting System (EAC Certification
Number DVS-DemSuite5.5-A) (“Dominion System”), specifically the Ballot Marking
Device Version 5.5.10.30, and the Knowink PollPad system.

Specific components of present concern:

--PollPad electronic pollbook units, including the stylus;
--Voter access smart cards; and
--Ballot marking devices’ touchscreens.

The attached Exhibit A is a graphic developed to demonstrate the risk of the virus
spreading on voter-touched surfaces. By contrast, paper pollbooks, voter applications,
hand marked paper ballots, and disposable pens can greatly reduce the number of
potentially contaminated surfaces that workers and voters must touch.

We ask that recognized infectious disease experts and public health experts lead in
conducting the reexamination of the components and that the following facts be
considered:

       --Paper alternatives are readily available and do not require a comparable level of
       staff, vendor, and voter handling or human interaction. Poll workers can issue
       paper ballots in envelopes or paper sleeves from behind plexiglass shields.

       --Use of the BMD components (touchscreens, printers, battery backups) adds
       approximately 80,000 unnecessary pieces of equipment to test, transport, install,
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 97 of 132




       clean, secure, maintain, and return to inventory after the election.

       --In addition, use of the BMD components requires handling at least 100,000
       plastic smart cards intended for reuse by voters and staff.

       --Touchscreen use requires thousands of precious hours of staff and technician
       programming and testing, requiring teamwork in close quarters. Hand marked
       paper ballots do not require this labor-intensive work.

       --Dominion recommends that BMD touchscreens be shut down for cleaning,
       which will greatly increase voter wait times in crowded polling places if
       touchscreens are cleaned—as they should be—between every use. Poll worker
       shortages will reduce the ability to ensure that thorough cleaning is consistently
       performed.

       --Transporting 80,000 additional components to polling places adds to handling
       inside trucks and polling places. Installation of these 80,000 integrated but
       unnecessary components in the polling place also requires considerable human
       interaction in tight spaces.

       --Touchscreens must be placed in locations near electric receptacles, which
       causes the voting stations to be placed close together. Paper ballot voting stations
       can be placed farther from each other.

       --Touchscreens cannot be used for safer voting methods like curbside voting,
       while paper ballots can easily be used in many such approaches.

The above considerations are certainly not all of the facts that should be taken into
consideration in the reexamination of the unsafe components.

We enclose at least the statutory minimum ten (10) signatures of duly registered
Georgia electors who seek this reexamination. The undersigned voters hereby state that,
given the current public health crisis, certain components of the Dominion System fail
to meet the statutory requirement that the voting system devices are safe for use by
Georgia electors (O.C.G.A. 379-2-379.24 (b) and (c)). Additionally, the BMD
touchscreens and PollPad units fail to comply with the statutory requirement that the
components be “safely transportable.” (O.C.G.A. 21-2-379.22 (10).

We the undersigned do not agree to pay the published reexamination fee for the needed
reexamination. We believe that any costs for this reexamination should be minimal and
are necessary expenditures of the Secretary’s office. This is a matter of urgent public
health importance and merits your immediate action. We reiterate our request that the
evaluation be conducted primarily by infectious disease experts and public health
experts.

Please let us know of you have questions concerning our request.
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 98 of 132




Respectfully submitted,



Cam Ashling, Chair
Georgia Advancing Progress PAC
(as an individual and on behalf of the organization)
Atlanta, GA 31126
gappacinc@gmail.com
404-759-1782



Marilyn Marks
Executive Director
Coalition for Good Governance
(on behalf of its Georgia members)
Marilyn@USCGG.org
704-292-9802

Ryan Graham, Chair
Libertarian Party of Georgia
(as an individual and on behalf of the organization)
Ryan.Graham@lpgeorgia.com

Ricardo Davis, Chair
Constitution Party of Georgia
(as an individual and on behalf of the organization)
ricardodavis@gaconstitutionparty.org

Ryan Barrett, Chair
Newton County Democratic Committee
(as an individual and on behalf of the organization)
barrettdrga@gmail.com

Jeanne Dufort,
1st Vice Chair, Morgan County Democratic Committee
(as an individual and on behalf of the organization)
jdufort@aol.com
Madison, GA

Rutledge Forney, MD
Atlanta, GA

Allen L. Dollar, MD, FACC, FACP
Emory Chief of Cardiology, Grady Memorial Hospital
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 99 of 132




Associate Professor of Medicine
Division of Cardiology
Emory University of School of Medicine

Corey Greenwald, MD
Atlanta, GA

Christy Blanchford, MD
Covington, GA

Karl Woodworth
Emory University Medical Librarian (retired)
Newborn, GA

Chris Hodges
Councilwoman, Madison GA

Shea Roberts
Candidate for Georgia House District 52
Sandy Springs, GA

Marvin Lim
Candidate for Georgia House District 99
Norcross, GA

Priscilla G. Smith
Candidate for Georgia House District 34
Kennesaw, GA

Linda Woodworth
Chair, Newborn Area Heritage Association
Newborn, GA

Elizabeth Throop
Atlanta, GA

Joy Wasson
Atlanta, GA

Rhonda J. Martin
Atlanta, GA

Aileen Nakamura
Sandy Springs, GA

Isabel, Fernando, Sophia, and Lucia Gambino
Atlanta, GA
      Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 100 of 132




Megan Missett
Atlanta, GA

Kathryn Grant
Valdosta, GA

Linda Kaminski
Canton, GA

Cissy Hanemayer
Madison, GA

Aaron Ruscetta
Decatur, GA

Cc:
Kathleen Toomey, Commissioner of Public Health

State Election Board Members
Rebecca Sullivan
Ahn Le
T Matthew Mashburn
David Worley


Attn: Ryan Germany
rgermany@sos.ga.gov

Kevin Rayburn
krayburn@sos.ga.gov
  Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 101 of 132



SAFE VOTING DURING THE
   COV I D - 1 9 PA N D E M I C
                           APRIL 2020




                DR. JOIA MUKHERJEE
                   MARK RITCHIE
                      RON FEIN
                SUSAN GREENHALGH
               COURTNEY HOSTETLER


            A R E P O RT BY F R E E S P E E C H F O R P EO P L E
                       www.freespeechforpeople.org
          Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 102 of 132

Safe Voting During the COVID-19 Pandemic


Introduction

The SARS-CoV-2 coronavirus (“novel coronavirus”), which causes the
Coronavirus Disease 2019 (“COVID-19”), has been spreading throughout the
United States since approximately January 2020. There is currently no cure or
vaccine for COVID-19. As of this writing, there are more than 360,000 reported
cases of COVID-19 in the United States, with cases in all fifty states, the District
of Columbia, and U.S. territories. More than 10,000 people in the United States
have died from COVID-19. Unfortunately, both of these numbers are expected to
increase dramatically over the next several months. On March 29, 2020, Dr.
Anthony Fauci, the director of the National Institute of Allergy and Infectious
Diseases, predicted that millions of Americans would be infected and 100,000-
200,000 would die. 1

As the novel coronavirus spirals out of control, it has become clear that our
traditional Election Day practices are not suited for a pandemic. In response,
some states have already begun to postpone primary elections. But elections—
the foundation of our democracy—must be held, and we must make legal and
policy changes now to ensure a safe, accessible, and trustworthy election in
November.

This report summarizes best practices for safe voting in the 2020 elections, based
on the generally accepted best practices for infectious disease control (including
for the novel coronavirus in particular) as of this date. 2 As explained in more
detail below, we recommend that every state and jurisdiction take the following
actions:

   • Make vote-by-mail easy. All voters should have the opportunity to vote by
     mail, or to complete their ballots at home and drop them off at a drive-
     through or walk-through drop-off location. The processing of mail-in
     ballots must be handled in a way that protects poll workers from virus
     transmission.


1 Susan   Milligan, “Fauci: U.S. Coronavirus Deaths Could Near 200,000,”
https://www.usnews.com/news/national-news/articles/2020-03-29/anthony-fauci-us-
coronavirus-deaths-could-near-200-000 (Mar. 29, 2020).
2 The information in this report reflects best practices as of this writing. As knowledge of this

virus is rapidly evolving, it is likely that, over time, this understanding will evolve.


                                                                                                    1
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 103 of 132

Safe Voting During the COVID-19 Pandemic


   • Minimize person-to-person contact at polling places. Early voting should
     be expanded as much as feasible, to help limit the number of people who
     must vote on any one day, and the number of polling places should be
     increased. Voters should not be required to wait in long lines to vote.
     Polling places should be configured to allow at least six feet of distance
     between all voters and poll workers.
   • Minimize contact with commonly-used surfaces. Polling places should be
     designed to ensure that voters are not required to touch common surfaces
     that are not disinfected. All voting-related equipment must be cleaned and
     disinfected regularly. Paper ballots are safer than voting machines and less
     likely to spread the novel coronavirus because fewer people must handle
     each ballot. The use of voting machines should be absolutely minimized,
     and used by only those voters who require them for accessibility purposes.
   • Design and manage polling places to protect the most vulnerable
     populations. The location and staffing of polling sites should be carefully
     arranged to protect the most vulnerable populations, including older
     adults.

Epidemiology of the novel coronavirus

The novel coronavirus is thought to spread mostly person-to-person through
respiratory droplets produced by an infected person who sneezes or coughs
within approximately a six-foot radius of another person or who touches and
object that is then touched by another person.

However, the novel coronavirus can also be spread through surfaces or objects. If
the novel coronavirus is present on a surface or object, a person may contract
COVID-19 by touching that surface or object, and then touching their mouth,
nose, or eyes. Other coronaviruses, including Severe Acute Respiratory
Syndrome (SARS) coronavirus and the Middle East Respiratory Syndrome
(MERS) coronavirus, have been found to persist on glass for 4-5 days, and to
persist on plastic for up to 6 days, with one coronavirus strand surviving on plastic
for up to 9 days. 3 An early study on the aerosol and surface stability of the novel


3 G. Kampf  et al., “Persistence of Coronaviruses on Inanimate Surfaces and Their Inactivation
With Biocidal Agents,” 104 J. of Hospital Infection 246 (Mar. 2020),
https://doi.org/10.1016/j.jhin.2020.01.022.


                                                                                                 2
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 104 of 132

Safe Voting During the COVID-19 Pandemic


coronavirus has determined that the novel coronavirus can remain viable on
plastic for up to 3 days. 4

In both cases, individuals infected with the novel coronavirus can shed the virus
while appearing asymptomatic.

The novel coronavirus and the voting process

While voting practices vary widely, many aspects of common voting processes in
the United States pose a high risk of transmitting the novel coronavirus. Because
individuals can spread the novel coronavirus through person-to-person contact,
any dense grouping of people might result in person-to-person spread of COVID-
19.

At many polling places, voters waiting to vote must stand in line with other
voters, often indoors and in confined spaces, sometimes for extended periods of
time. Once inside the polling location, the typical “flow” involves interacting with
a poll worker to check in; proceeding to a semi-private voting booth or area that
may be quite close to another voter’s voting booth; and then interacting with
another poll worker to check out. All of these offer opportunities for an infected
voter or poll worker to transmit the novel coronavirus directly to others.

Additionally, the novel coronavirus may be shed onto voting machines, voting
booths, and other materials required for voting. The novel coronavirus could
remain present on those materials for hours or days unless they are properly
sanitized using disinfectants that are approved by the CDC for rendering the virus
inactive.

Infectious disease control best practices for elections

The best practices to control the spread of the novel coronavirus in the voting
process are based on the following principles:

              a. Minimizing person-to-person contact via social distancing.


4Neeltje van Doremalen et al., “Aerosol and Surface Stability of SARS-CoV-2 as Compared
With SARS-CoV-1,” Letter to the Editor, New England Journal of Medicine (Mar. 17, 2020),
https://bit.ly/2Uibd28.


                                                                                           3
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 105 of 132

Safe Voting During the COVID-19 Pandemic


             b. Minimizing contact by multiple people with commonly used
                surfaces.
             c. Frequently disinfecting commonly used surfaces.
             d. Protecting the most vulnerable populations, including older
                adults.

The Centers for Disease Control and Prevention (“CDC”) issues and updates
guidance on mass gatherings and large community events.5 As of this writing,
the CDC recommends that all U.S. events of 10+ people should be cancelled or
held virtually. Many states and cities have imposed similar or even more stringent
measures. Government authorities may revise these measures over time for
various reasons. But from the perspective of infectious disease control, expert
medical consensus is unlikely to change its view that minimizing large gatherings
will be essential for months to come.

The CDC also issues and updates guidance specific to election polling locations. 6
The following best practices and recommendations are drawn from and reflect
CDC and other expert medical guidance, as well as the professional expertise and
judgment of Free Speech For People’s advisor on infectious disease control in the
voting process, Dr. Joia Mukherjee.

Voting by mail

All voters should have the opportunity to vote by mail, or to complete their
ballots at home and drop them off at a drive-through or walk-through dropoff
location. Voters should be able to request mail-in ballots up to the day before the
election, to increase the likelihood that individuals who are diagnosed with
COVID-19 or have been exposed to the novel coronavirus do not vote in person,
and to ensure that individuals who wish to reduce their exposure to infection can
do so. Envelope closures for mail-in ballots should use “no-lick” sealing methods
such as pressure-sensitive gum.


5 See CDC, “Interim Guidance: Get Your Mass Gatherings or Large Community Events Ready
for Coronavirus Disease 2019 (COVID-19),” https://www.cdc.gov/coronavirus/2019-
ncov/downloads/Mass-Gatherings-Document_FINAL.pdf (revised Mar. 29, 2020).
6 See CDC, “Recommendations for Election Polling Locations,”

https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-locations.html
(revised Mar. 27, 2020).


                                                                                         4
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 106 of 132

Safe Voting During the COVID-19 Pandemic


Secure remote ballot marking options should be offered for voters with
disabilities. Voters with disabilities may not be able to mark a vote-by-mail ballot
at home. Jurisdictions should offer remote accessible ballot marking systems
that allow a voter to access a ballot electronically on her computer or device and
use assistive technology to mark and print a paper ballot. These systems should
always conform to recommendations from the National Institute of Standards
and Technology to protect ballot privacy and security and not transmit any vote
selection information over the Internet.7

The processing of mail-in ballots must be handled in a way that protects poll
workers from virus transmission. Processing locations must be set up to ensure
that poll workers maintain a distance of six feet from one another. Poll workers
should be provided with protective equipment, and be able to practice hand
hygiene frequently in accordance with CDC guidance.8 Envelopes should be
opened in a manner that does not require poll workers to touch the envelopes’
adhesive. Finally, tabulation equipment must be routinely sanitized in
accordance with the vendor’s guidance.

In-person voting

It may be impossible or not preferable for some voters to vote by mail. Therefore,
all efforts must be made to ensure that voting locations are as safe and sanitary
as possible.

Minimizing person-to-person contact at polling places

Density of people at polling sites must be reduced. This involves several
measures to spread voters out in both space and time.

Early voting should be expanded as much as feasible, to help limit the
number of people who must vote on any one day, and the number of polling
places should be increased. On Election Day itself, voting hours should be
expanded, and voters should be encouraged to come during off-peak hours when

7 Computer Sec. Res. Ctr., Nat’l Inst. of Sci. & Tech., “Security Best Practices for the Electronic
Transmission of Election Materials for UOCAVA Voters” (NISTIR 7711),
https://nvlpubs.nist.gov/nistpubs/Legacy/IR/nistir7711.pdf (Sept. 2011).
8 See CDC, “When and How to Wash Your Hands,” https://www.cdc.gov/handwashing/when-

how-handwashing.html (last visited Apr. 6, 2020).


                                                                                                      5
      Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 107 of 132

Safe Voting During the COVID-19 Pandemic


possible. Where possible, “curbside voting” (in which voters can vote without
leaving their vehicles) should be made available, especially for voters with
disabilities or who may be ill. Election officials should increase the number of
available polling places, to ensure that fewer individuals are required to visit each
polling location.

Voters should not be required to wait in long lines to vote. If short lines must
form, voters must be able to maintain 6 feet of separation between one another.
Voters should not be turned away at the polls to avoid long lines. Instead, long
lines should be avoided by taking precautions recommended above, including
expanded vote-by-mail, early voting options, and increasing the number of
polling places to avoid dense crowds, as well as expanding the simultaneous
voting capacity at polling places.

Polling places should be configured to allow at least six feet of distance
between all voters and poll workers. In particular, voting booths must be
configured to place at least 6 feet of separation between voters. The voting
process should be set up to require only minimal interaction between voter and
poll worker. Finally, voters and poll workers should be discouraged from bringing
non-essential visitors such as minor children or grandchildren with them to the
polls.

Minimizing contact with commonly used surfaces

Polling places should be designed to ensure that voters are not required to
touch common surfaces that are not disinfected. Poll workers should wear
surgical gloves and masks while handling ballots, pens, and other voting
equipment. Poll workers should change their gloves and masks and wash their
hands regularly.

Polling locations should provide alcohol-based hand sanitizer (at least 60%
alcohol) for use both before and after voting. Sanitizer should be placed near the
entrance, at registration desks, near the exits, and at other visible, frequently
used locations. If possible, polling places should be located near publicly
accessible bathrooms, which should be frequently re-stocked with ample soap
and disposable paper towels.




                                                                                    6
        Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 108 of 132

Safe Voting During the COVID-19 Pandemic


All voting-related equipment must be cleaned and disinfected regularly. CDC
guidance advises that poll workers must “[c]lean and disinfect voting-associated
equipment (e.g., voting machines, laptops, tablets, keyboards) routinely.”9
However, the CDC does not define “routinely.” From a public health standpoint,
the best practices are as follows:

   • For any equipment that is used repeatedly but by only one individual (e.g.,
     a poll book that is used by only one poll worker for an entire shift), disinfect
     at least once per hour.
   • For any equipment that is directly touched by multiple voters or other
     individuals (e.g., voting machines or assistive technology), disinfect after
     each individual’s use.

Paper ballots are safer than voting machines and less likely to spread the
novel coronavirus because fewer people must handle each ballot. Where
possible, voters should be given their own disposable pen to mark the ballot and
their own disposable writing surface. If not possible, each pen and writing surface
must be thoroughly disinfected after each use.

Unfortunately, most voting machines are difficult to clean or sanitize properly in
the middle of an election. The U.S. Election Assistance Commission has collected
and published manufacturers’ recommended practices for cleaning some
electronic voting machines. 10 They are difficult to properly clean, in many cases
require specialized instruction or materials, and have small parts.

Several manufacturers warn that common disinfectants, or departing from the
recommended cleaning technique, could damage the equipment. For example,
Election Systems & Software (“ES&S”) warns that poll workers must be careful to
not touch the sensors on the edges of the screen, “scratch touch screens,” or




9 See CDC, “Recommendations for Election Polling Locations,”
https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-locations.html
(revised Mar. 27, 2020).
10 See Election Assistance Comm’n, “Coronavirus (COVID-19) Resources,”

https://www.eac.gov/election-officials/coronavirus-covid-19-resources (last visited Apr. 6,
2020).


                                                                                              7
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 109 of 132

Safe Voting During the COVID-19 Pandemic


allow moisture to “linger[] on the external surface.”11 ES&S also warns poll
workers not to apply cleanser directly to the screens, or to use too much cleaner
on the cloth, or else the equipment may become “damaged during cleaning.” 12
As another example, Dominion Voting lists just six approved branded cleaning
products for its touchscreen-based voting machines. 13

In normal times, these products might all be readily available, but in the current
situation, election officials might be unable to obtain them in sufficient
quantities. They would then face the dilemma of either inadequately disinfecting
the voting machines (which could then become disease vectors) or using
unapproved products, possibly damaging expensive and hard-to-replace
equipment in the middle of an election.

In many cases, manufacturers’ recommended cleaning guidelines—which may be
reasonable in normal circumstances—are inconsistent with the twin public health
mandates of frequent cleaning and avoiding buildup of long lines during a
pandemic. For example, Dominion Voting warns that its touchscreen-based
voting machines must be powered down before cleaning, noting that “[m]oist
wipes may alter the touch sensitivity of screens until the moisture is removed.
Additionally, some screen buttons may be inadvertently activated during wipe
down.”14 Powering down a voting machine before cleaning, and then restarting it
after cleaning, takes time, especially because many machines will require a
special administrator login after rebooting. Similarly, MicroVote cautions that
after cleaning its Infinity electronic voting machine, poll workers must “[a]llow




11 ES&S, “BestPractices – Voting System,” at 1-2,
https://www.eac.gov/sites/default/files/electionofficials/coronavirus/ESS_BestPractices_Cleani
ng_Disinfecting.pdf (last visited Apr. 6, 2020).
12 Id. at 3.
13 Dominion Voting, “Customer Notification: COVID-19 (‘Coronavirus’) Information,” at 4 (Mar.

9, 2020),
https://www.eac.gov/sites/default/files/electionofficials/coronavirus/DVS_CoronavirusCleaning
Notice_030920.pdf.
14 Dominion Voting, “Customer Notification: COVID-19 (‘Coronavirus’) Information,” at 1 (Mar.

9, 2020),
https://www.eac.gov/sites/default/files/electionofficials/coronavirus/DVS_CoronavirusCleaning
Notice_030920.pdf.


                                                                                            8
       Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 110 of 132

Safe Voting During the COVID-19 Pandemic


ample drying time after cleaning before operation.”15 If sanitized after each
voter’s use, consistent with infectious disease control best practices, these
cleaning practices could lead to long lines that may create an increased risk of
person-to-person transmission.

Furthermore, manufacturers’ recommended cleaning practices are often highly
specific, with cautions regarding any deviations. ES&S, for example, specifies
that a “trained poll worker” must clean the machines. 16 Poll workers, whether
paid or volunteer, are generally only lightly trained (e.g., a single two-hour
training) and it is unreasonable to expect flawless execution.

This could result in two distinct failure modes. First, a poll worker might fail to
clean a voting machine adequately, rendering it a continued potential source of
surface-to-voter transmission. Second, a poll worker might inadvertently deviate
from the cleaning instructions and damage a machine. This will reduce polling
place capacity and thus lead to longer lines, creating an increased risk of person-
to-person transmission.

Consequently, the use of voting machines should be absolutely minimized,
and used by only those voters who require them for accessibility purposes.
The machines will still have to be sanitized according to manufacturer and health
authority instructions after every voter’s use, but by minimizing the number of
voters who use these voting machines, this will be much less often than if most or
all voters were required to use them.

There is a collateral public health benefit to reducing the usage of these voting
machines. In many cases, polling places can physically accommodate more
voters voting simultaneously on paper ballots than on voting machines, with less
(or no) down-time due to equipment failures. This would enable a faster flow
through the polling place, thus reducing time spent in lines and exposed to other
voters.

15 MicroVote, “Cleaning and   Disinfecting Infinity Voting Equipment,”
https://www.eac.gov/sites/default/files/electionofficials/coronavirus/MicroVote_CleanSanitize.
pdf (last visited Apr. 6, 2020).
16 ES&S, “Best Practices – Voting System,” at 1,

https://www.eac.gov/sites/default/files/electionofficials/coronavirus/ESS_BestPractices_Cleani
ng_Disinfecting.pdf (last visited Apr. 6, 2020).


                                                                                             9
      Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 111 of 132

Safe Voting During the COVID-19 Pandemic


Protecting the most vulnerable populations

The location and staffing of polling sites should be designed and managed to
protect the most vulnerable populations. Polling sites should be relocated away
from senior centers or residential facilities. Election officials should recruit extra
poll workers to facilitate a more expeditious voting process and to account for
potential absences due to sickness or prudent self-isolation. There is expected to
be a large pool of recently-unemployed workers, many of whom are in lower-risk
groups for serious infection, who could be recruited for this important civic task.
Poll workers who are at higher risk of serious infection should be given
opportunities to serve in areas that do not involve engaging directly with voters,
such as processing vote-by-mail ballots.

Conclusion

This year is the first federal election since 1918, and the nation’s first-ever
presidential election, conducted during a major global pandemic. In the midst of
such a pandemic, we must have a president, governors, and mayors who have
the consent of the governed. That requires a free, fair, and safe election. The
recommendations in this report reflect best practices for ensuring a safe,
accessible, and trustworthy election. Election officials should begin
implementing these recommendations now, and continue to consult with public
health experts to devise plans that limit transmission of the novel coronavirus
without interfering with voters’ ability to cast their votes. Our democracy
demands no less.




                                                                                   10
      Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 112 of 132

Safe Voting During the COVID-19 Pandemic


About the Authors
Dr. Joia Mukherjee is a physician, clinical researcher, and educator trained in
Infectious Disease, Internal Medicine, Pediatrics, and public health at the
Massachusetts General Hospital and the Harvard School of Public Health. She is
an Associate Professor of Medicine at the Brigham and Women’s Hospital in the
Division of Global Health Equity and in the Department of Global Health and
Social Medicine at Harvard Medical School. She founded and directs the Masters
in Medical Science in Global Health Delivery at Harvard Medical School. Dr.
Mukherjee mentors residents in the Global Health Equity program at the
Brigham and Women’s Hospital and fellows from Children’s Hospital and other
Harvard teaching hospitals. She teaches infectious disease, global health
delivery, and human rights to health professionals and students from around the
world. She is the author of Introduction to Global Health Delivery: Practice, Equity,
Human Rights, a textbook published in 2017 by Oxford University Press. Dr.
Mukherjee’s academic scholarship focuses on the treatment of HIV, TB, mental
health and the strengthing of health systems in impoverished settings. She is
also a sought-after teacher in human rights. Since 2000, Dr. Mukherjee has
served as the Chief Medical Officer of Partners In Health, an international
medical charity with programs in the United States, Haiti, Rwanda, Lesotho,
Malawi, Sierra Leone, Liberia, Peru, Mexico, Russia, Kazakhstan and the Navajo
nation. As Chief Medical Officer of PIH, Joia coordinates and supports PIH’s
efforts to provide high quality, comprehensive health care to the poorest and
most vulnerable. She advises various grassroots organizations throughout the
world and has consulted for the World Health Organization and other
international agencies on health systems strengthening, human resources for
health, the treatment of HIV, and the treatment of drug resistant tuberculosis in
impoverished settings. She has won numerous awards for her teaching and
health delivery work, and holds four honorary degrees. She is a graduate of the
University of Minnesota Medical School and also earned a Masters of Public
Health from the Harvard School of Public Health. Dr. Mukherjee is a member of
the Free Speech For People Board of Directors.

Mark Ritchie served as Minnesota’s Secretary of State from 2007-2015, including
a term as president of the National Association of Secretaries of State. He
currently serves on the U.S. Election Assistance Commission's Board of Advisors,
appointed by Senator Amy Klobuchar. His time as Secretary of State was
characterized by efforts to enhance voter knowledge and participation and the


                                                                                   11
      Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 113 of 132

Safe Voting During the COVID-19 Pandemic


expansion of a wide range of services for Minnesota businesses, organizations,
and residents. He graduated with a B.S. from Iowa State University and a
master’s degree in Public Affairs from the University of Minnesota-Twin Cities.

Ron Fein is the Legal Director for Free Speech For People. Mr. Fein previously
served as Assistant Regional Counsel in the United States Environmental
Protection Agency’s New England office, where he received the EPA’s National
Gold Medal for Exceptional Service. Earlier, Mr. Fein clerked for the Honorable
Kermit Lipez of the United States Court of Appeals for the First Circuit and the
Honorable Douglas Woodlock of the United States District Court for the District
of Massachusetts. He graduated Order of the Coif from Stanford Law School
and summa cum laude from Harvard College.

Susan Greenhalgh is the Senior Advisor on Election Security for Free Speech For
People. Ms. Greenhalgh has previously served as vice president of programs at
Verified Voting and at the National Election Defense Coalition, advocating for
secure election protocols, paper ballot voting systems and post-election audits.
Recognized as an expert on election security, she has been an invited speaker at
meetings of the MITRE Corporation, the National Conference of State
Legislatures, the Mid-West Election Officials Conference, the International
Association of Government Officials, the Election Verification Network and the
E-Vote-ID conference in Bregenz, Austria. She is a frequent source for reporters
from The New York Times, The Washington Post, The Wall Street Journal, Politico,
USAToday, Associated Press, National Public Radio and other leading news
outlets. She has appeared on CNN and MSNBC’s The Rachel Maddow Show, and
various other television news shows. She has a B.A. in Chemistry from the
University of Vermont.

Courtney Hostetler is the Counsel for Free Speech For People. Previously, Ms.
Hostetler served as staff attorney for South Coastal Counties Legal Services,
where she helped low-income clients recover damages for wage theft and
employment discrimination, and obtained special education services for
traumatized children. Ms. Hostetler also worked at Zalkind Duncan & Bernstein
LLC and ACLU Massachusetts, where she focused on eliminating discriminatory
discipline practices in public schools. Prior to attending law school, Ms. Hostetler
managed the Close Up Foundation’s national youth voting program and worked
as a research analyst for the Genocide Intervention Network. Ms. Hostetler


                                                                                   12
      Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 114 of 132

Safe Voting During the COVID-19 Pandemic


clerked for the Honorable James L. Dennis of the United States Courts of Appeals
for the Fifth Circuit. Ms. Hostetler graduated with a J.D. from Yale Law School, an
M.Phil from Oxford University, and a B.A. from Colgate University.

About Free Speech For People
Free Speech For People works to renew our democracy and our United States
Constitution for we the people. Founded on the day of the Supreme Court’s
Citizens United ruling, Free Speech For People envisions a democratic process in
which all people have an equal voice and an equal vote. We fight for free and fair
elections, for reliable and secure voting systems, and for the bedrock principle
that, in a democracy, all voters must have their votes properly counted. To learn
more, please visit our website: www.freespeechforpeople.org.




                                                                                 13
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 115 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T



                                                                   C
                                                         Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 116 of 132
                                                                                                                                                             All A-Z Topics

                                                                                                             Search                               Coronavirus          5

Coronavirus Disease 2019 (COVID-19)

CDC > Coronavirus Disease 2019 (COVID-19) > Communities, Schools & Workplaces                                                             !      "       #      $      %
 > Gatherings & Community Events



 ' Coronavirus Disease 2019
     (COVID-19)                                 Recommendations for Election Polling
   Symptoms & Testing               +           Locations
   Prevent Getting Sick
                                                Interim guidance to prevent spread of coronavirus disease 2019 (COVID-19)
                                    +
                                                    Other Languages         Print Page
   Daily Life & Coping              +

   If You Are Sick                  +
                                                    Updated March 27, 2020

   People Who Need Extra            +
   Precautions
                                                    Summary of changes:

   Frequently Asked                                     Encourage moving election polling locations away from long term care facilities and facilities
   Questions                                            housing older persons to minimize COVID-19 exposure among older individuals and those
                                                        with chronic medical conditions.
   Travel                           +                   Updated EPA COVID Disinfectant link.

   Cases, Data, &                   +
   Surveillance

                                                Background
   Communities, Schools
                                    4
   & Workplaces                                 There is much to learn about the novel coronavirus (SARS-CoV-2) that causes coronavirus disease
                                                2019 (COVID-19). Based on what is currently known about SARS-CoV-2 and about similar
      Critical Workers                          coronaviruses, spread from person-to-person happens most frequently among close contacts (within
                                                about 6 feet). This type of transmission occurs via respiratory droplets. Transmission of SARS-CoV-2
      Disinfecting Your Facility                to persons from surfaces contaminated with the virus has not been documented. Transmission of
                                                coronavirus in general occurs much more commonly through respiratory droplets than through
      Disinfect Your Non-                       contact with contaminated surfaces. Current evidence suggests that SARS-CoV-2 may remain viable
      Emergency Vehicle                         for hours to days on surfaces made from a variety of materials. Cleaning of visibly dirty surfaces
                                                followed by disinfection is a best practice measure for prevention of COVID-19 and other viral
      Schools & Child Care          +           respiratory illnesses in election polling locations.

      Colleges & Universities       +
                                                Purpose
      Businesses                    +
                                                This guidance provides recommendations on the routine cleaning and disinfection of polling location
      Gatherings &
                                    4           areas and associated voting equipment (e.g., pens, voting machines, computers). It suggests actions
      Community Events                          that polling station workers can take to reduce the risk of exposure to COVID-19 by limiting the
                                                survival of the virus in the environment. This guidance will be updated if additional information
          Interim Guidance for                  becomes available.
          Event Planners
                                                De!nitions:
          Election Polling
          Locations                                     Community settings (e.g. polling locations, households, schools, daycares, businesses)
                                                        encompass most non-healthcare settings and are visited by the general public.
          FAQs for Event                                Cleaning refers to the removal of dirt and impurities including germs from surfaces. Cleaning
                                                        alone does not kill germs. But by removing them, it decreases the number of germs and
      First Responders and Law      +                   therefore any risk of spreading infection.
      Enforcement
                                                        Disinfecting kills germs on surfaces. Disinfecting works by using chemicals to kill germs on
      Community- and Faith-                             surfaces. This process does not necessarily clean dirty surfaces or remove germs. But killing
                                    +
      Based Organizations                               germs remaining on a surface after cleaning further reduce any risk of spreading infection.


      Parks & Recreational          +               Actions for elections o"cials in advance of election day
      Facilities

                                                        Encourage voters to use voting methods that minimize direct contact with other
      Homeless Population           +                   people and reduce crowd size at polling stations.
                                                            Encourage mail-in methods of voting if allowed in the jurisdiction.
      Retirement Communities        +
                                                              Encourage early voting, where voter crowds may be smaller throughout the day. This
                                                              minimizes the number of individuals a voter may come in contact with.
      Correctional and              +
      Detention Facilities                                    Encourage drive-up voting for eligible voters if allowed in the jurisdiction.
                                                              Encourage voters planning to vote in-person on election day to arrive at o#-peak times.
      Tribal Communities            +                         For example, if voter crowds are lighter mid-morning, advertise that in advance to the
                                                              community.
   Healthcare Professionals +
                                                              Encourage relocating polling places from nursing homes, long-term care facilities, and
                                                              senior living residences, to minimize COVID-19 exposure among older individuals and
   Health Departments               +
                                                              those with chronic medical conditions.

   Laboratories                     +                         Consider additional social distancing and other measures to protect these individuals
                                                              during voting.
   Communication                    +
   Resources

                                                    Preventive actions polling workers can take
                                                        Stay at home if you have fever, respiratory symptoms, or believe you are sick
     ( Get Email                                        Practice hand hygiene frequently
                                                                                  frequently: wash hands often with soap and water for at least 20
     Updates                                            seconds. If soap and water are not readily available, use an alcohol-based hand sanitizer that
                                                        contains at least 60% alcohol.
     To receive email                                   Practice routine cleaning of frequently touched surfaces: including tables, doorknobs,
     updates about COVID-                               light switches, handles, desks, toilets, faucets, sinks, etc.
     19, enter your email
                                                        Disinfect surfaces that may be contaminated with germs after cleaning: A list of
     address:
                                                        products with EPA-approved emerging viral pathogens claims & is available. Products with
                                                        EPA-approved emerging viral pathogens claims are expected to be e#ective against the virus
       Email Address
                                                        that causes COVID-19 based on data for harder to kill viruses. Follow the manufacturer’s
                                                        instructions for all cleaning and disinfection products (e.g., concentration, application method
     What's              Submit                         and contact time, use of personal protective equipment).
     this?
                                                        Clean and disinfect voting-associated equipment (e.g., voting machines, laptops,
                                                        tablets, keyboards) routinely
                                                                               routinely. Follow the manufacturer’s instructions for all cleaning and
                                                        disinfection products.
     Spanish
                                                             Consult with the voting machine manufacturer for guidance on appropriate disinfection
     Communication
                                                             products for voting machines and associated electronics.
     Resources
                                                              Consider use of wipeable covers for electronics.

     Social Media Toolkit                                     If no manufacturer guidance is available, consider the use of alcohol-based wipes or
                                                              spray containing at least 70% alcohol to clean voting machine buttons and touch
                 Learn More                                   screens. Dry surfaces thoroughly to avoid pooling of liquids.




                                                    Preventive action polling stations workers can take for themselves and
                                                    the general public
                                                    Based on available data, the most important measures to prevent transmission of viruses in
                                                    crowded public areas include careful and consistent cleaning of one’s hands. Therefore:

                                                        Ensure bathrooms at the polling station are supplied adequately with soap, water,
                                                        and drying materials so visitors and sta# can wash their hands.
                                                                                                                 hands..
                                                        Provide an alcohol-based hand sanitizer with at least 60% alcohol for use before or
                                                        after using the voting machine or the !nal step in the voting process. Consider placing the
                                                        alcohol-based hand sanitizer in visible, frequently used locations such as registration desks
                                                        and exits.
                                                        Incorporate social distancing strategies, as feasible.
                                                                                                           feasible.Social distancing strategies
                                                        increase the space between individuals and decrease the frequency of contact among
                                                        individuals to reduce the risk of spreading a disease. Keeping individuals at least 6 feet apart
                                                        is ideal based on what is known about COVID-19. If this is not feasible, e#orts should be
                                                        made to keep individuals as far apart as is practical. Feasibility of strategies will depend on
                                                        the space available in the polling station and the number of voters who arrive at one time.
                                                        Polling station workers can:
                                                              Increase distance between voting booths.
                                                              Limit nonessential visitors. For example, poll workers should be encouraged not to bring
                                                              children, grandchildren, etc. with them as they work the polls.
                                                              Remind voters upon arrival to try to leave space between themselves and others.
                                                              Encourage voters to stay 6 feet apart if feasible. Polling places may provide signs to help
                                                              voters and workers remember this.
                                                              Discourage voters and workers from greeting others with physical contact (e.g.,
                                                              handshakes). Include this reminder on signs about social distancing.




                                                    Recommendations for processing mail-in ballots
                                                        Workers handling mail in ballots should practice hand hygiene frequently
                                                        No additional precautions are recommended for storage of ballots




                                                References
                                                        Community Mitigation Guidance for COVID-19 Response in the United States:
                                                        Nonpharmaceutical Interventions for Community Preparedness and Outbreak Response
                                                        Handwashing: Clean Hands Save Lives
                                                        Protect Yourself & Your Family

                                                                                                                                                             Top of Page



                                                                                                                                       Page last reviewed: March 10, 2020
                                                               Content source: National Center for Immunization and Respiratory Diseases (NCIRD), Division of Viral Diseases




HAVE QUESTIONS?                              CDC INFORMATION                               Privacy                                   CONNECT WITH CDC
                                             About CDC                                     FOIA
)    Visit CDC-INFO
                                             Jobs                                          No Fear Act                               - . / 0
*    Call 800-232-4636                       Funding                                       OIG
                                             Policies                                      Nondiscrimination                         1 2 3 +
+    Email CDC-INFO
                                             File Viewers & Players                        Accessibility
,    Open 24/7




U.S. Department of Health & Human Services                                                 USA.gov                                   CDC Website Exit Disclaimer &
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 117 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T



                                                                   D
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 118 of 132
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 119 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T



                                                                   E
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 120 of 132
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 121 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T



                                                                   F
           Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 122 of 132




RESOLUTION ENCOURAGING STATE LEADERS TO ALLOW VOTING
   EXCLUSIVELY BY MAIL IN THE UPCOMING MAY ELECTION


Whereas elections for the postponed Presidential Preference Primary, as well as non-
        partisan elections and party primaries, are rapidly approaching; and

Whereas all registered voters have a right to vote guaranteed by the Georgia
        Constitution1; and

Whereas the Coronavirus (aka COVID-19) has been rapidly spreading throughout
        Georgia, the United States, and the world2;

Whereas Georgia residents are under a Shelter in Place order imposed by Governor
        Kemp through April 30th, 20203; and

Whereas Georgia public schools have been physically closed for the remainder of
        the 2019-2020 school year, limiting students to on-line instruction only4;
        and

Whereas, the Coronavirus appears to be easily spread from person to person5; and

Whereas, scientists are proposing that an absolute minimum distance of six feet apart
         be maintained between persons to prevent spread of the virus6; and

Whereas, despite the best preparations for a live, in-person vote, the six-foot rule
        and adequate sanitation cannot be maintained; and


1
    Article II, Section I, Paragraph II of the Constitution of Georgia of 1983.
2
    https://gisanddata.maps.arcgis.com/apps/opsdashboard/index.html#/bda7594740fd40299423467b48e9ecf6
3
 https://www.ajc.com/blog/politics/breaking-kemp-extends-shelter-place-order-georgia-through-
april/TsMutJJldcp9FTb3QTD00J/
4
    https://www.ajc.com/news/state--regional-education/schools-closed-until-fall/r7QgK2idaQ0681UafbW3XP/
5
    https://www.livescience.com/covid19-coronavirus-transmission-through-speech.html
6
    https://www.livescience.com/coronavirus-six-feet-enough-social-distancing.html
           Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 123 of 132




Whereas, the average age of a poll worker in Georgia is 70 years old7; and

Whereas, the Centers for Disease Control advises that older adults are at higher risk
        of developing complications from the virus, including death8; and

Whereas, fearing for their own safety, roughly half of Jackson County’s trained poll
        workers have withdrawn from participating in the upcoming election; and

Whereas, the Georgia constitution provides that the State Government shall protect
        the citizens of this State9; and

Whereas, the Board of Elections and Registration of Jackson County wants to protect
         all citizens (including poll workers, elections office staff, custodians,
         EMTs, sheriff’s deputies, all of their families, and everyone involved in
         the voting process) while ensuring the right to vote; and

Whereas, the continual moving of election dates creates a financial burden on
        taxpayers through their county and state taxes; and

Whereas, the Georgia Secretary of State has mailed an absentee voter request form
        to every registered voter in the State of Georgia10; and

Whereas, every voter may request an absentee ballot for mail-in voting by returning
        the request via fax, mail, e-mail, or in-person11; and

Whereas, local voter registration offices keep track of the request being made, the
        ballot being sent, and the ballot being returned, thus providing
        accountability to the voter that his or her vote is received and counted; and



7
    https://www.gpbnews.org/post/could-coronavirus-affect-georgia-s-elections
8
    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html
9
    Article I, Section I, Paragraphs II and VII of the Constitution of Georgia of 1983.
10
  https://www.ajc.com/news/state--regional-govt--politics/voters-mailed-absentee-ballot-request-forms-for-may-
georgia-primary/hc0FkOo85uVCALbWvQUo9L/
11
     https://sos.ga.gov/index.php/Elections/absentee_voting_in_georgia
      Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 124 of 132




Whereas, voting by mail in the current COVID-19 pandemic is the only guaranteed
        method to protect voters, poll workers, and others involved in the voting
        process;

NOW, therefore, be it resolved that the Board of Elections and Registration of
Jackson County, for the safety and wellbeing of the citizens of Jackson County
and of Georgia, hereby urge Governor Brian Kemp, Lt. Governor Geoff
Duncan, House Speaker David Ralston, and Secretary of State Brad
Raffensperger to provide that the upcoming election be conducted entirely by
mail.

      SO AUTHORIZED AND RESOLVED this 8th day of April, 2020.


____________________________               ____________________________
Eric C. Crawford                           Theressa Tate
Chairman                                   Member


____________________________               ____________________________
Erma Denney                                Judy McNichols
Member                                     Member
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 125 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T


                                                                   G
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 126 of 132
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 127 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T



                                                                   H
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 128 of 132
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 129 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T


                                                                   I
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 130 of 132
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 131 of 132




                                                                   E
                                                                   X
                                                                   H
                                                                    I
                                                                   B
                                                                    I
                                                                   T


                                                                   J
Case 1:20-cv-01677-TCB Document 1 Filed 04/20/20 Page 132 of 132
